Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 1 of 68 PageID #: 11




                  EXHIBIT A
          Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 2 of 68 PageID #: 12



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                  IN THE 22ND JUDICIAL CIRCUIT COURT, CITY OF ST LOUIS, MISSOURI

 Judge ot• Division:   '                                           Case Number: 2022-CC10457
 MICHAEL KELLAN MULLEN
 Plaintiff/Petitioner:                                             Plaintiff's/Petitioner's Attorney/Address:
 ERNEST EVANS                                                      CHRISTOPHER LOUIS SCHNIEDERS
                                                                   NAPOLI SHKOLNIK PLLC
                                                                   6731 W 121ST STREET SUIT 201
                                                            vs.    OVERLAND PARK, KS 66209
 Defendant/Respondent:                                             Court Address:
 MONSANTO COMPANY                                                  CIVIL COURTS BUILDING
                                                                   10 N TUCKER BLVD
                                                                   SAINT LOUIS, MO 63101
 Nature of Suit:
 CC Pers Iniurv-Prod Liab                                                                                                               File

                                       Sunamons for Service by Registered or Certified Mail
 The State of 1Vlissouri to:        MONSANTO COMPANY
                                   Alias:

 CSC OF ST LOU1S COUNTY INC
 MC CSCI, RAGT
 9666 OLiVE BLVD SUITE 690
 SA1NT LOU1S, MO 63132-3026

                                             You are summoned to appear before this court and to file your pleading to the petition, copy
       COURT SEAL OF
                                       of which is attached, and to serve a copy of your pleading upon the attorney for the
             ~URT OF
                                       Plaintiff7Petitioner, or Plaintiff/Petitioner, if pro se, at the above address all within 30 days after the
        A,
       ~'~ ~; •. ~                     return registered or certified mail receipt signed by you has been filed in this cause. If you fail to
             T
       ~         p                     file your pleading, judgment by default will be taken against you for the relief demanded in the
                                       petition.


      CITYOFSTLOUIS
                                             December 8, 2020                                       .47
                                                                                                          r~~..;~
                                                     Date Tssued                                                    Clerk . . .
                                       Fut-ther Information:



                                                                  Certificate of Mailing
             I certify that on !~~►'            `~~`                (date), I mailed a copy of this summons and a copy of the petition to
    Defendant/Respondent MONSANTO COMPANY by registered or certified mail, requesting a return receipt by the addressee
    only, to the said Defendant/Respondent at the address fut-nished by Plaintift%Petitioner.


                                                                                   ~~a                    Q~"Vooa)
                       Date




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Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 4 of 68 PageID #: 14
                                                                       2022-CC10457

                IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                             STATE OF MISSOURI

MELINDA DAY as Wrongful Death Heir and Personal
Representative of the Estate of ERNEST EVANS,
JUSTIN FAIRHURST, FREDA FARRAR, MARK
FARRELL, MARY FEDERICO as Wrongful Death                  Case No.___________________
Heir and Personal Representative of the Estate of
LOUIS FEDERICO, STEVEN FEOLA, MARK
FIELDS, WILLIE FISHER, SHAWREIKA FISHER,
KEVIN FISTER, RONALD FITE, JANA
FITZGERALD as Wrongful Death Heir and Personal
Representative of the Estate of MARK FITZGERALD,
LINDA PEEVYHOUSE as Wrongful Death Heir and
Personal Representative of the Estate of JONATHON
FORD, DUANE FRANTUM, THERESA FRASER,                      JURY TRIAL DEMANDED
ALAN FREY, JANEVA FRISBY, STEVEN
FROSTAD, JANIS FRYE as Wrongful Death Heir and
Personal Representative of the Estate of RICHARD
WAYNE FRYE SR., LYNNA FULTON, WARREN
GAMBLE, LINDA WRIGHT as Wrongful Death Heir
and Personal Representative of the Estate of MINNIE
GAMBLE, EVAN GAMSU, JAMES GARDENHIRE,
GEORGE GARDINER, JOSEPH GARDNER, DENNIS
GARETANO, JOHN GARGAN, RODGER GARRETT,
ROBERT GARRETT JR., JAMES GARRITY, DAVID
GASKINS, STEFANIE GATES, PHILLIP GEORGE,
PATRICIA GIEFER as Wrongful Death Heir and
Personal Representative of the Estate of HERBERT
GIEFER, JENNIFER GILBERT, DWAIN
GLASCOCK, JIMMY GOFF, TINA NEUMANN as
Wrongful Death Heir and Personal Representative of the
Estate of LINDA GOLDEN, KARRIE GONZALES,
JOSE GONZALEZ, BRENDA GONZALEZ,
MICHAEL GONZALEZ, JEANNE GORDON,
KENNETH GOSCILA, FREDERICK GRAFF,
THOMAS GREEN, RICHARD GREENDONNER,
ANGELA LAWLER as Wrongful Death Heir and
Personal Representative of the Estate of HARRY
GRIFFIN, DAVID GRIGSBY, JOHNATHON
GRISGBY CROSS, MARY GROVES, PAUL
GUARDADO, MICHAEL HADAM, ROBERT
HADDEN, INA HALL, CINDY HAMILTON, DAVID
HAMILTON, HANNAH HAMMOND as Wrongful
Death Heir and Personal Representative of the Estate of
LARRY HAMMOND, MATT HANDRAHAN,
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Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 5 of 68 PageID #: 15




ROBERT HANSEK, JONATHAN SETTLE as
Wrongful Death Heir and Personal Representative of the
Estate of JUDITH HANSON, ANTHONY HARBIN,
WILLIAM HARMAN, BRUCE HARR, JAMES
HARRISON, KAREN HARRISON as Wrongful Death
Heir and Personal Representative of the Estate of
LYNDON HARRISON, BRENDA HARVEY as
Wrongful Death Heir and Personal Representative of the
Estate of EDWARD HARVEY, LYNDA HASS,
DONNA HAWES, DONALD HAWORTH, CANDACE
HEE, CASSANDRA DEVEREAUX as Wrongful
Death Heir and Personal Representative of the Estate of
DAVID HENDERSON DEVEREAUX, WILLIAM
HERNACKI, ROBIN HERRERA as Wrongful Death
Heir and Personal Representative of the Estate of
ALFONSO HERRERA, ANTHONY HICKS, DENISE
GAFFNEY as Wrongful Death Heir and Personal
Representative of the Estate of NATHAN
HIGGINBOTHAM, RONALD HILKER, BRIAN HILL,
HELEN HINES, MICK HOGAN as Wrongful Death
Heir and Personal Representative of the Estate of TODD
HOGAN, WILLIAM HOLLYFIELD, LANISHA
GAMBLES as Wrongful Death Heir and Personal
Representative of the Estate of TYRONNE HOLMES,
STELLA HOMICKI, DIANN HORNE as Wrongful
Death Heir and Personal Representative of the Estate of
JOSIE HORNE, PRINCE HOUSTON, AMANDA
HUEMILLER, JORGE HUERTA FLORES,
CHRISTOPHER HUMPHREY, and SHAWN MCNEA
as Wrongful Death Heir and Personal Representative of
the Estate of CONSTANCE HUNDLEY,


              Plaintiffs,

v.

MONSANTO COMPANY
Serve: Registered Agent
       CSC of St. Louis County, Inc.
       MC – CSC1
       9666 Olive Blvd., Suite 690
       St. Louis, MO 63132-3026

              Defendant.


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Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 6 of 68 PageID #: 16




                                          PETITION

       COME NOW Plaintiffs, Melinda Day as Wrongful Death Heir and Personal Representative

of the Estate of Ernest Evans, Justin Fairhurst, Freda Farrar, Mark Farrell, Mary Federico as

Wrongful Death Heir and Personal Representative of the Estate of Louis Federico, Steven Feola,

Mark Fields, Willie Fisher, Shawreika Fisher, Kevin Fister, Ronald Fite, Jana Fitzgerald as

Wrongful Death Heir and Personal Representative of the Estate of Mark Fitzgerald, Linda

Peevyhouse as Wrongful Death Heir and Personal Representative of the Estate of Jonathon Ford,

Duane Frantum, Theresa Fraser, Alan Frey, Janeva Frisby, Steven Frostad, Janis Frye as Wrongful

Death Heir and Personal Representative of the Estate of Richard Wayne Frye Sr., Lynna Fulton,

Warren Gamble, Linda Wright as Wrongful Death Heir and Personal Representative of the Estate

of Minnie Gamble, Evan Gamsu, James Gardenhire, George Gardiner, Joseph Gardner, Dennis

Garetano, John Gargan, Rodger Garrett, Robert Garrett Jr., James Garrity, David Gaskins, Stefanie

Gates, Phillip George, Patricia Giefer as Wrongful Death Heir and Personal Representative of the

Estate of Herbert Giefer, Jennifer Gilbert, Dwain Glascock, Jimmy Goff, Tina Neumann as

Wrongful Death Heir and Personal Representative of the Estate of Linda Golden, Karrie Gonzales,

Jose Gonzalez, Brenda Gonzalez, Michael Gonzalez, Jeanne Gordon, Kenneth Goscila, Frederick

Graff, Thomas Green, Richard Greendonner, Angela Lawler as Wrongful Death Heir and Personal

Representative of the Estate of Harry Griffin, David Grigsby, Johnathon Grigsby Cross, Mary

Groves, Paul Guardado, Michael Hadam, Robert Hadden, Ina Hall, Cindy Hamilton, David

Hamilton, Hannah Hammond as Wrongful Death Heir and Personal Representative of the Estate

of Larry Hammond, Matt Handrahan, Robert Hansek, Jonathan Settle as Wrongful Death Heir and

Personal Representative of the Estate of Judith Hanson, Anthony Harbin, William Harman, Bruce

Harr, James Harrison, Karen Harrison as Wrongful Death Heir and Personal Representative of the


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                                                                                                      Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 7 of 68 PageID #: 17




Estate of Lyndon Harrison, Brenda Harvey as Wrongful Death Heir and Personal Representative

of the Estate of Edward Harvey, Lynda Hass, Donna Hawes, Donald Haworth, Candace Hee,

Cassandra Devereaux as Wrongful Death Heir and Personal Representative of the Estate of David

Henderson Devereaux, William Hernacki, Robin Herrera as Wrongful Death Heir and Personal

Representative of the Estate of Alfonso Herrera, Anthony Hicks, Denise Gaffney as Wrongful

Death Heir and Personal Representative of the Estate of Nathan Higginbotham, Ronald Hilker,

Brian Hill, Helen Hines, Mick Hogan as Wrongful Death Heir and Personal Representative of the

Estate of Todd Hogan, William Hollyfield, Lanisha Gambles as Wrongful Death Heir and Personal

Representative of the Estate of Tyronne Holmes, Stella Homicki, Diann Horne as Wrongful Death

Heir and Personal Representative of the Estate of Josie Horne, Prince Houston, Amanda

Huemiller, Jorge Huerta Flores, Christopher Humphrey and Shawn McNea as Wrongful Death

Heir and Personal Representative of the Estate of Constance Hundley, and for their causes of action

against Defendant Monsanto Company, alleging the following upon information and belief

(including investigation made by and through Plaintiffs’ counsel), except those allegations that

pertain to Plaintiffs, which are based on personal knowledge:

                                       INTRODUCTION

       Plaintiffs bring this cause of action against Defendant pursuant to Rule 52.05(a) of the

Missouri Rules of Civil Procedure, as their claims arise out of the same series of transactions and

occurrences, and their claims involve common questions of law and/or fact. All claims in this

action are a direct and proximate result of Defendant’s negligent, willful, and wrongful conduct in

connection with the design, development, manufacture, testing, packaging, promoting, marketing,

distribution, and/or sale of Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”). All Plaintiffs in this action seek recovery for damages as a result of developing Non-


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                                                                                                       Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 8 of 68 PageID #: 18




Hodgkin’s Lymphoma (“NHL”), Hodgkin’s Lymphoma, Lymphoma, Multiple Myeloma, and/or

Leukemia, directly and proximately caused by such wrongful conduct by Defendant, the

unreasonably dangerous and defective nature of Roundup, and its active ingredient, glyphosate,

and the attendant effects of developing diseases. No Plaintiff knew of an association between

exposure to Roundup and the increased risk of developing these diseases until well after the

International Agency for Research on Cancer (“IARC”), an agency of the World Health

Organization (“WHO”), first published its evaluation of glyphosate. All of the claims involve

common questions of law and fact and share legal and medical issues that arise out of all of the

Plaintiffs’ exposures to Roundup.

  I.   THE PARTIES

                                            Plaintiffs


       1.      Plaintiff Melinda Day as Wrongful Death Heir and Personal Representative of the

Estate of Ernest Evans, deceased, and lives in Smiths Station, Alabama. She is the next of kin and

Personal Representative of the Estate of Ernest Evans, an Alabama Estate. Decedent was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses. He used and/or was exposed to Roundup approximately 19 years.

He was diagnosed with non-Hodgkins Lymphoma on or about April 13, 2018 as a result of

exposure to Roundup and died of his injuries on October 19, 2019.

       2.      Plaintiff Justin Fairhurst is a resident of Staten Island, New Jersey. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses and for maintenance purposes while working as a contractor. He

used and/or was exposed to Roundup approximately from 1998 and 2019. On or about August 20,

2020 he was diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.
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Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 9 of 68 PageID #: 19




       3.     Plaintiff Freda Farrar is a resident of Panama, Oklahoma. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses from at least 2005 and 2015. On or about August 1, 2015 she was

diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.

      4.      Plaintiff Mark Farrell is a resident of Indialantic, Florida. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses. He used and/or was exposed to Roundup from

approximately 1992 until 1997. On or about September 8, 2004 he was diagnosed with non-

Hodgkins Lymphoma as a result of exposure to Roundup.

       5.     Plaintiff Mary Federico as Wrongful Death Heir and Personal Representative of the

Estate of Louis Federico, deceased, and lives in Woodbridge, Connecticut. She is the next of kin

and Personal Representative of the Estate of Louis Federico, a Connecticut Estate. Decedent was

exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing

products (“Roundup”) for personal uses and while owning an operating a paving company. He

used and/or was exposed to Roundup approximately from 1993 to 2015. He was diagnosed with

non-Hodgkins Lymphoma on or about June 2017 as a result of exposure to Roundup and died of

his injuries on May 14, 2019.

       6.     Plaintiff Steven Feola is a resident of Ocean Township, New Jersey. He was

exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing

products (“Roundup”) for personal uses from at least 1988 to 2018. On or about June 2003 he was

diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.

       7.     Plaintiff Mark Fields is a resident of Litchfield Park, Arizona. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products


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                                                                                                      Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 10 of 68 PageID #: 20




(“Roundup”) for personal uses. He used and/or was exposed to Roundup approximately from 1998

to 2004. On or about July 1, 2003 he was diagnosed with non-Hodgkins Lymphoma as a result of

exposure to Roundup.

       8.      Plaintiff Willie Fisher is a resident of Orange, Texas. He was exposed to, purchased

and/or used Roundup and/or other Monsanto glyphosate-containing products (“Roundup”) for

personal uses and during the course of his employment as a farm hand from at least 1988 to 2016.

On or about January 7, 2016 he was diagnosed with non-Hodgkins Lymphoma as a result of

exposure to Roundup.

       9.      Plaintiff Shawreika Fisher is a resident of Ruther Glen, Virginia. She was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses approximately between 2019 and 2020. She was diagnosed with

non-Hodgkins Lymphoma on or about July 24, 2020 as a result of exposure to Roundup.

       10.     Plaintiff Kevin Fister is a resident of Palm City, Florida. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses. He was diagnosed with non-Hodgkins Lymphoma as

a result of exposure to Roundup.

       11.     Plaintiff Ronald Fite is a resident of Oklahoma City, Oklahoma. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses and/or other uses in between 1973 and 1999. On or about October

1995 he was diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.

       12.     Plaintiff Jana Fitzgerald as Wrongful Death Heir and Personal Representative of

the Estate of Mark Fitzgerald, deceased, and lives in Chicago, Illinois. She is the next of kin and

Personal Representative of the Estate of Mark Fitzgerald, an Illinois Estate. Decedent was exposed


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                                                                                                       Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 11 of 68 PageID #: 21




to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses and/or other uses. He used and/or was exposed to Roundup

approximately between 2006 and 2013. He was diagnosed with non-Hodgkins Lymphoma on or

about March 2009 as a result of exposure to Roundup and died of his injuries on February 24,

2014.

        13.    Plaintiff Linda Peevyhouse as Wrongful Death Heir and Personal Representative

of the Estate of Jonathon Ford, deceased, and lives in Meridian, Mississippi. She is the next of kin

and Personal Representative of the Estate of Jonathon Ford, a Mississippi Estate. Decedent was

exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing

products (“Roundup”) for personal uses and/or other uses. He used and/or was exposed to Roundup

approximately between 1992 and 2005. He was diagnosed with non-Hodgkins Lymphoma on or

about 2008 as a result of exposure to Roundup and died of his injuries on January 27, 2018.

        14.    Plaintiff Duane Frantum is a resident of Dundalk, Maryland. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses from at least 1990 through 1996. He was diagnosed

with non-Hodgkin’s Lymphoma on or about January 2016. He developed non-Hodgkin’s

Lymphoma as a result of Roundup exposure.

        15.    Plaintiff Theresa Fraser is a resident of Spring Hill, Florida. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses approximately from 2008 and 2012. She was diagnosed with non-

Hodgkins Lymphoma as a result of exposure to Roundup on or about January 2011. She developed

non-Hodgkin’s Lymphoma as a result of Roundup exposure.




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Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 12 of 68 PageID #: 22




       16.    Plaintiff Alan Frey is a resident of Menasha, Wisconsin. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses. He used and/or was exposed to Roundup in between

1987 to 2020. On or about May 1, 2020 he was diagnosed with non-Hodgkins Lymphoma as a

result of exposure to Roundup.

       17.    Plaintiff Janeva Frisby is a resident of Prunedale, California. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses and while being employed as a farmer. She used and/or was

exposed to Roundup from approximately 1995 to 2013. On or about December 2014 she was

diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.

       18.    Plaintiff Steven Frostad is a resident of Herndon, Virginia. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses from at least 1991 through 2020. He was diagnosed with non-

Hodgkin’s Lymphoma on or about February 2020 as a result of Roundup exposure.

       19.    Plaintiff Janis Frye as Wrongful Death Heir and Personal Representative of the

Estate of Richard Wayne Frye Sr., deceased, and lives in Broken Arrow, Oklahoma. She is the

next of kin and Personal Representative of the Estate of Richard Wayne Frye Sr., an Oklahoma

Estate. Decedent was exposed to, purchased and/or used Roundup and/or other Monsanto

glyphosate-containing products (“Roundup”) for personal uses. He used and/or was exposed to

Roundup approximately between 1992 and 2017. He was diagnosed with non-Hodgkins

Lymphoma on or about January 2006 as a result of exposure to Roundup and died of his injuries

on August 3, 2008.




                                               9
                                                                                                       Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 13 of 68 PageID #: 23




       20.     Plaintiff Lynna Fulton is a resident of Fort Worth, Texas. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses approximately from 1980 and 1995. On or about 2000

she was diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.

       21.     Plaintiff Warren Gamble is a resident of Casper, Wyoming He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses from at least 1986 through 2020. He was diagnosed with non-

Hodgkin’s Lymphoma on or about November 6, 2019. He developed non-Hodgkin’s Lymphoma

as a result of Roundup exposure.

      22.      Plaintiff Linda Wright as Wrongful Death Heir and Personal Representative of the

Estate of Minnie Gamble, deceased, and lives in Eustis, Florida. She is the next of kin and Personal

Representative of the Estate of Minnie Gamble, a Florida Estate. Decedent was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses from at least 1991 to 2018. She was diagnosed with non-Hodgkins

Lymphoma on or about July 2018 as a result of exposure to Roundup and died of her injuries on

August 27, 2018

       23.     Plaintiff Evan Gamsu is a resident of Prairie Village, Kansas. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses and/or other uses approximately from 2006 and 2016. He was

diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup on or about January

1, 2010. He developed non-Hodgkin’s Lymphoma as a result of Roundup exposure.

       24.     Plaintiff James Gardenhire is a resident of Shreveport, Louisiana. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products


                                                10
                                                                                                  Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 14 of 68 PageID #: 24




(“Roundup”) for personal and/or other uses. He used and/or was exposed to Roundup from

approximately January 2010 until April 2011. On or about October 2011 he was diagnosed with

non-Hodgkins Lymphoma as a result of exposure to Roundup.

        25.   Plaintiff George Gardiner is a resident of Maurice, Louisiana. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses and while being employed as a farmer. He used and/or was exposed

to Roundup from approximately 1979 until 2020. On or about January 1, 2018 he was diagnosed

with non-Hodgkins Lymphoma as a result of exposure to Roundup.

        26.   Plaintiff Joseph Gardner is a resident of Acton, California. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses. He was diagnosed with non-Hodgkins Lymphoma as

a result of exposure to Roundup. He developed non-Hodgkin’s Lymphoma as a result of Roundup

exposure.

        27.   Plaintiff Dennis Garetano is a resident of Huntington Station, New York. He was

exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing

products (“Roundup”) for personal and/or other uses. On or about June 2020 he was diagnosed

with non-Hodgkins Lymphoma as a result of exposure to Roundup.

        28.   Plaintiff John Gargan is a resident of New York, New York. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses in the residence from approximately 1998 and 2005. He was

diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup on or about May

2006.




                                             11
                                                                                                    Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 15 of 68 PageID #: 25




       29.    Plaintiff Rodger Garrett is a resident of Kyle, Texas. He was exposed to, purchased

and/or used Roundup and/or other Monsanto glyphosate-containing products (“Roundup”) for

personal uses and while being employed as a maintenance worker. He used and/or was exposed to

Roundup from approximately 1990 to 2018. On or about January 2010 he was diagnosed with non-

Hodgkins Lymphoma as a result of exposure to Roundup.

       30.    Plaintiff Robert Garrett Jr. is a resident of Paterson, New Jersey. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses and while being employed as a landscaper from at least 1990 and

2013. On or about June 2012 he was diagnosed with non-Hodgkins Lymphoma as a result of

exposure to Roundup.

       31.    Plaintiff James Garrity is a resident of Phelan, California. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses at her residence. He used and/or was exposed to Roundup

approximately from 1996 to 2001. On or about September 1, 2013 he was diagnosed with non-

Hodgkins Lymphoma as a result of exposure to Roundup.

       32.    Plaintiff David Gaskins is a resident of Bonneau, South Carolina. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses from at least 1998 and 2018. On or about February 26, 2020 he was

diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.

       33.    Plaintiff Stefanie Gates is a resident of Oxnard, California. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses from at least 2000 through 2015. On or about 2002

she was diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.


                                              12
                                                                                                       Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 16 of 68 PageID #: 26




       34.    Plaintiff Phillip George is a resident of Millington, Tennessee. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) while being employed as a Flight Engineer from approximately 1974 and 1993. He

was diagnosed with non-Hodgkins Lymphoma on or about July 5, 2015. He developed non-

Hodgkin’s Lymphoma as a result of Roundup exposure.

       35.    Plaintiff Patricia Giefer as Wrongful Death Heir and Personal Representative of the

Estate of Herbert Giefer, deceased, and lives in Golden, Colorado. She is the next of kin and

Personal Representative of the Estate of Herbert Giefer, a Colorado Estate. Decedent was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/ or other uses from approximately 1998 to 2017. He was diagnosed

with non-Hodgkins Lymphoma on or about August 20, 2017 as a result of exposure to Roundup

and died of his injuries on November 21, 2017.

       36.    Plaintiff Jennifer Gilbert is a resident of Camarillo, California. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses from approximately 2012 and 2017. She was

diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup on or about August

2017

       37.    Plaintiff Dwain Glascock is a resident of Eldorado, Illinois. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses at his residence and for maintenance purposes on the premises of

his rental properties. He used and/or was exposed to Roundup from approximately 1982 and 2020.

On or about January 1996 he was diagnosed with non-Hodgkins Lymphoma as a result of exposure

to Roundup.


                                                 13
                                                                                                  Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 17 of 68 PageID #: 27




        38.   Plaintiff Jimmy Goff is a resident of Hanford, California. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses in between at least 1992 and 2020. He was diagnosed

with non-Hodgkins Lymphoma on or about January 2012. He developed non-Hodgkins

Lymphoma as a result of exposure to Roundup.

        39.    Plaintiff Tina Neumann as Wrongful Death Heir and Personal Representative of

the Estate of Linda Golden, deceased, and lives in Tucson, Arizona. She is the next of kin and

Personal Representative of the Estate of Linda Golden, an Arizona Estate. Decedent was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses and while being employed as a housekeeper. She used and/or was

exposed to Roundup from approximately 1990 and 2019. She was diagnosed with non-Hodgkins

Lymphoma in June 2019 as a result of exposure to Roundup and died of her injuries on March 19,

2020.

        40.   Plaintiff Karrie Gonzales is a resident of Davis, California. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses from approximately 1999 and 2020. She was diagnosed with non-

Hodgkins Lymphoma as a result of exposure to Roundup on or about May 2020. She developed

non-Hodgkin’s Lymphoma as a result of Roundup exposure.

        41.   Plaintiff Jose Gonzalez is a resident of Cleveland, Ohio. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses from approximately 2012 and 2018. He was diagnosed with non-

Hodgkins Lymphoma as a result of exposure to Roundup on or about July 1, 2017. He developed

non-Hodgkin’s Lymphoma as a result of Roundup exposure.


                                               14
                                                                                                    Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 18 of 68 PageID #: 28




       42.    Plaintiff Brenda Gonzalez is a resident of Rumsey, California. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses from approximately 2001 and 2019. She was diagnosed with non-

Hodgkins Lymphoma on or about December 1, 2019. She developed non-Hodgkin’s Lymphoma

as a result of Roundup exposure.

       43.    Plaintiff Michael Gonzalez is a resident of Mineola, Texas. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) while being employed as a maintenance worker from approximately 1995 and 1998.

He was diagnosed with non-Hodgkins Lymphoma on or about January 1999. He developed non-

Hodgkin’s Lymphoma as a result of Roundup exposure.

       44.    Plaintiff Jeanne Gordon is a resident of Palm Harbor, Florida. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses from approximately 2005 and 2009. She was diagnosed with non-

Hodgkins Lymphoma as a result of exposure to Roundup on or about 2009. She developed non-

Hodgkin’s Lymphoma as a result of Roundup exposure.

      45.     Plaintiff Kenneth Goscila is a resident of Lowell, Massachusetts. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses at his residence. He used and/or was exposed to Roundup from

approximately 1990 and 2016. In January 2017 he was diagnosed with non-Hodgkins Lymphoma

as a result of exposure to Roundup.

       46.    Plaintiff Frederick Graff is a resident of Lake Havasu, Arizona. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses. He used and/or was exposed to Roundup from at least 1974 to


                                              15
                                                                                                    Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 19 of 68 PageID #: 29




2018. He was diagnosed with non-Hodgkins Lymphoma on or about August 2005. He developed

non-Hodgkin’s Lymphoma as a result of Roundup exposure.

       47.    Plaintiff Thomas Green is a resident of Port Charlotte, Florida. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) while being employed as a maintenance worker and a groundskeeper. He used and/or

was exposed to Roundup approximately 1980 and 2010. On or about October 2017 he was

diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.

       48.    Plaintiff Richard Greendonner is a resident of Bradenton, Florida. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses. He used and/or was exposed to Roundup

approximately from 1982 to 2019. On or about April 2017 he was diagnosed with non-Hodgkins

Lymphoma as a result of exposure to Roundup.

       49.    Plaintiff Angela Lawler as Wrongful Death Heir and Personal Representative of the

Estate of Harry Griffin, deceased, and lives in San Antonio, Texas. She is the next of kin and

Personal Representative of the Estate of Harry Griffin, a Texas Estate. Decedent was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/ or other uses from at least 1995 to 2016. On or about January 2006

he was diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup and died of

his injuries on November 12, 2019.

       50.    Plaintiff David Grigsby is a resident of Junction City, Ohio. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses at his residence and while working as a landscaper. He used and/or




                                               16
                                                                                                  Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 20 of 68 PageID #: 30




was exposed to Roundup approximately from 1990 to January 2020. On or about September 24,

2020 he was diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.

       51.    Plaintiff Johnathon Grigsby Cross is a resident of Kingsley, Iowa. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses approximately from 1975 through 2015. He was diagnosed with

non-Hodgkins Lymphoma as a result of exposure to Roundup on or about October 2012.

       52.    Plaintiff Mary Groves is a resident of Indianapolis, Indiana. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses. She used and/or was exposed to Roundup from at least 2005 to

2018. She was diagnosed with non-Hodgkins Lymphoma on or about August 26, 2020. She

developed non-Hodgkin’s Lymphoma as a result of Roundup exposure.

       53.    Plaintiff Paul Guardado is a resident of Massilon, Ohio. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses. He used and/or was exposed to Roundup from at least 2000 to

2019. He was diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup on or

about August 2017.

       54.    Plaintiff Michael Hadam is a resident of Tallmadge, Ohio. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses. He used and/or was exposed to Roundup from at least 1999 to

2014. He was diagnosed with non-Hodgkins Lymphoma on or about August 25, 2011. He

developed non-Hodgkin’s Lymphoma as a result of Roundup exposure.

       55.    Plaintiff Robert Hadden is a resident of Chesapeake City, Maryland. He was

exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing


                                             17
                                                                                                  Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 21 of 68 PageID #: 31




products (“Roundup”) for personal uses and while being employed as a maintenance worker. He

used and/or was exposed to Roundup approximately from 1989 and 2019. He was diagnosed with

non-Hodgkins Lymphoma on or about January 1, 2019. He developed non-Hodgkin’s Lymphoma

as a result of Roundup exposure.

       56.    Plaintiff Ina Hall is a resident Prestonsburg, Kentucky. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses. She used and/or was exposed to Roundup from at least 1974 to

2019. On or about May 2020 she was diagnosed with non-Hodgkins Lymphoma as a result of

exposure to Roundup.

       57.    Plaintiff Cindy Hamilton is a resident of Waianae, Hawaii. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses from approximately 2010 and 2014. On or about September 2014

she was diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.

       58.    Plaintiff David Hamilton is a resident of Magnolia, Misssissippi. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for residential use in between 1985 and 2017. On or about July 2014 he was

diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.

       59.    Plaintiff Hannah Hammond as Wrongful Death Heir and Personal Representative

of the Estate of Larry Hammond, deceased, and lives in Warsaw, Kentucky. She is the next of kin

and Personal Representative of the Estate of Larry Hammond, a Kentucky Estate. Decedent was

exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing

products (“Roundup”) for personal and/or other uses from at least 2008 to 2018. On or about




                                              18
                                                                                                   Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 22 of 68 PageID #: 32




January 2015 he was diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup

and died of his injuries on February 25, 2018.

       60.     Plaintiff Matt Handrahan is a resident of Pompano Beach, Florida. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses. He used and/or was exposed to Roundup from at least 1996 to

2020. On or about 2016 he was diagnosed with non-Hodgkins Lymphoma as a result of exposure

to Roundup.

       61.     Plaintiff Robert Hansek is a resident of Winston, Georgia. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses. He used and/or was exposed to Roundup from at least

2011 to 2018. On or about August 2018 he was diagnosed with non-Hodgkins Lymphoma as a

result of exposure to Roundup.

       62.     Plaintiff Jonathan Settle as Wrongful Death Heir and Personal Representative of

the Estate of Judith Hanson, deceased, and lives in Hernando, Mississippi. He is the next of kin

and Personal Representative of the Estate of Judith Hanson, a Mississippi Estate. Decedent was

exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing

products (“Roundup”) for personal and/or other uses from at least 1984 to 2006. On or about

November 2012 she was diagnosed with non-Hodgkins Lymphoma as a result of exposure to

Roundup and died of her injuries on December 31, 2015.

       63.     Plaintiff Anthony Harbin is a resident of Dalton, Georgia. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses. On or about 2015 he was diagnosed with non-

Hodgkins Lymphoma as a result of exposure to Roundup.


                                                 19
                                                                                                   Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 23 of 68 PageID #: 33




       64.    Plaintiff William Harman is a resident of Mountain Home, Arizona. He was

exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing

products (“Roundup”) for personal uses and while working as a landscaper from at least 2005 to

2019. On or about August 13, 2020 he was diagnosed with non-Hodgkins Lymphoma. He

developed non-Hodgkin’s Lymphoma as a result of Roundup exposure.

       65.    Plaintiff Bruce Harr is a resident of Fresno, California. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses. He was exposed and/or used Roundup from at least

1999 to 2014. On or about August 2020 he was diagnosed with non-Hodgkins Lymphoma. He

developed non-Hodgkin’s Lymphoma as a result of Roundup exposure.

       66.    Plaintiff James Harrison is a resident of Orange, Texas. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses from at least 1985 to 1994. On or about January 13, 2018 he was

diagnosed with non-Hodgkins Lymphoma. He developed non-Hodgkin’s Lymphoma as a result

of Roundup exposure.

       67.    Plaintiff Karen Harrison as Wrongful Death Heir and Personal Representative of

the Estate of Lyndon Harrison, deceased, and lives in Reynoldsburg, Ohio. She is the next of kin

and Personal Representative of the Estate of Lyndon Harrison, an Ohio Estate. Decedent was

exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing

products (“Roundup”) for personal and/or other uses. On or about August 25, 2009 he was

diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup and died of his

injuries on August 31, 2010.




                                              20
                                                                                                 Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 24 of 68 PageID #: 34




       68.     Plaintiff Brenda Harvey as Wrongful Death Heir and Personal Representative of

the Estate of Edward Harvey, deceased, and lives in Columbia, Kentucky. She is the next of kin

and Personal Representative of the Estate of Edward Harvey, a Kentucky Estate. Decedent was

exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing

products (“Roundup”) for personal uses at his farm. On or about January 2000 he was diagnosed

with non-Hodgkins Lymphoma as a result of exposure to Roundup. On or about January 2010 he

was re-diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup and died of

his injuries on January 18, 2016.

       69.     Plaintiff Lynda Hass is a resident of Bowling Green, Kentucky. She was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses approximately from May 2001 to September 2018. On or about

January 2, 2018 she was diagnosed with non-Hodgkins Lymphoma as a result of Roundup

exposure.

       70.     Plaintiff Donna Hawes is a resident of Sarasota, Florida. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses. She was diagnosed with non-Hodgkins Lymphoma.

She developed non-Hodgkin’s Lymphoma as a result of Roundup exposure.

       71.     Plaintiff Donald Haworth is a resident of Waukomis, Oklahoma. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses from at least 1979 to 2019. He was diagnosed with non-Hodgkins

Lymphoma on or about April 2019. He developed non-Hodgkin’s Lymphoma as a result of

Roundup exposure.




                                             21
                                                                                                   Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 25 of 68 PageID #: 35




       72.    Plaintiff Candace Hee is a resident of Pearl City, Hawaii. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses. She was diagnosed with non-Hodgkins Lymphoma

on or about February 2007. She developed non-Hodgkin’s Lymphoma as a result of Roundup

exposure.

       73.    Plaintiff Cassandra Devereaux as Wrongful Death Heir and Personal

Representative of the Estate of David Henderson Devereaux, deceased, and lives in Waco, Texas.

She is the next of kin and Personal Representative of the Estate of David Henderson Devereaux, a

Texas Estate. Decedent was exposed to, purchased and/or used Roundup and/or other Monsanto

glyphosate-containing products (“Roundup”) for personal and/or other uses from at least 2001 to

2014. On or about January 1, 2014 he was diagnosed with non-Hodgkins Lymphoma as a result

of exposure to Roundup and died of his injuries on November 6, 2016.

       74.    Plaintiff William Hernacki is a resident of Byron, Georgia. He was exposed to,

purchased and/or used Roundup \and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses approximately from 1992 and 2001. He was diagnosed

with non-Hodgkins Lymphoma on or about January 1, 2012. He developed non-Hodgkin’s

Lymphoma as a result of Roundup exposure.

       75.    Plaintiff Robin Herrera as Wrongful Death Heir and Personal Representative of the

Estate of Alfonso Herrera, deceased, and lives in Morristown, Tennessee. She is the next of kin

and Personal Representative of the Estate of Alfonso Herrera, a Tennessee Estate. Decedent was

exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing

products (“Roundup”) for personal and/or other uses from at least 1986 to 1995. On or about




                                              22
                                                                                                    Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 26 of 68 PageID #: 36




January 2018 he was diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup

and died of his injuries on March 25, 2020.

       76.    Plaintiff Anthony Hicks is a resident of Los Angeles, California. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) while being employed as a maintenance worker. He used and/or was exposed to

Roundup in between 2000 to 2020. On or about July 2020 he was diagnosed with non-Hodgkins

Lymphoma as a result of exposure to Roundup.

       77.    Plaintiff Denise Gaffney as Wrongful Death Heir and Personal Representative of

the Estate of Nathan Higginbotham, deceased, and lives in Bellmawr, New Jersey. She is the next

of kin and Personal Representative of the Estate of Nathan Higginbotham, a New Jersey Estate.

Decedent was exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-

containing products (“Roundup”) for personal uses and while being employed as a landscaper from

at least 2013 to 2016. On or about July 2015 he was diagnosed with non-Hodgkins Lymphoma as

a result of exposure to Roundup and died of his injuries on November 14, 2016.

       78.    Plaintiff Ronald Hilker is a resident of Kirbyville, Texas. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses. He used and/or was exposed to Roundup from approximately 2001

to 2012. On or about September 2019 he was diagnosed with non-Hodgkins Lymphoma as a result

of exposure to Roundup.

       79.    Plaintiff Brian Hill is a resident of Dixon, Missouri. He was exposed to, purchased

and/or used Roundup and/or other Monsanto glyphosate-containing products (“Roundup”) for

residential uses from at least between 2000 and 2002. On or about 2014 he was diagnosed with

non-Hodgkins Lymphoma as a result of exposure to Roundup.


                                               23
                                                                                                     Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 27 of 68 PageID #: 37




       80.     Plaintiff Helen Hines is a resident of Missouri City, Texas. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses. She was exposed to Roundup approximately from 2000 and 2016.

She was diagnosed with non-Hodgkins Lymphoma on or about August 24. 2020. She developed

non-Hodgkin’s Lymphoma as a result of Roundup exposure.

       81.     Plaintiff Mick Hogan as Wrongful Death Heir and Personal Representative of the

Estate of Todd Hogan, deceased, and lives in West Jordan, Utah. He is the next of kin and Personal

Representative of the Estate of Todd Hogan, a Utah Estate. Decedent was exposed to, purchased

and/or used Roundup and/or other Monsanto glyphosate-containing products (“Roundup”) while

being employed as a Groundskeeper from at least 2007 to June 2017. On or about February 1,

2017 he was diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup and

died of his injuries on March 1, 2019.

       82.     Plaintiff William Hollyfield is a resident of Toledo, Ohio. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses and while working as a landscaper and a groundskeeper. He was

exposed to Roundup from at least 1980 and 2017. On or about September 14, 2018 he was

diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.

       83.     Plaintiff Lanisha Gambles as Wrongful Death Heir and Personal Representative of

the Estate of Tyronne Holmes, deceased, and lives in Lancaster, California. She is the next of kin

and Personal Representative of the Estate of Tyronne Holmes, a California Estate. Decedent was

exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing

products (“Roundup”) for personal and/or other uses from at least 2008 to June 2011. On or about




                                               24
                                                                                                       Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 28 of 68 PageID #: 38




May 1, 2011 he was diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup

and died of his injuries on September 12, 2012.

        84.    Plaintiff Stella Homicki is a resident of Naperville, Illinois. She was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses from approximately 2003 and 2004. On or about 2006 she was

diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup.

        85.    Plaintiff Diann Horne as Wrongful Death Heir and Personal Representative of the

Estate of Josie Horne, deceased, and lives in Montz, California. She is the next of kin and Personal

Representative of the Estate of Josie Horne, a California Estate. Decedent was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal and/or other uses. On or about 1998 he was diagnosed with non-

Hodgkins Lymphoma as a result of exposure to Roundup and died of his injuries on March 18,

2008.

        86.    Plaintiff Prince Houston is a resident of Scottsdale, Arizona. He was exposed to,

purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses and while being employed as a maintenance worker. He was

exposed to Roundup approximately from 1986 and 2017. On or about 2016 he was diagnosed with

non-Hodgkins Lymphoma. He developed non-Hodgkin’s Lymphoma as a result of Roundup

exposure.

        87.    Plaintiff Amanda Huemiller is a resident of Garden City, Idaho. She was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses at her residence from at least 1998 to 2002. On or January 2004 she




                                                  25
                                                                                                      Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 29 of 68 PageID #: 39




was diagnosed with non-Hodgkins Lymphoma. She developed non-Hodgkin’s Lymphoma as a

result of Roundup exposure.

       88.     Plaintiff Jorge Huerta Flores is a resident of San Diego, California. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses and while owning and operating a landscaping company. He used

and/or was exposed to Roundup from at least 2002 through 2012. He was diagnosed with non-

Hodgkins Lymphoma on or about 2017 as a result of exposure to Roundup.

       89.     Plaintiff Christopher Humphrey is a resident of West Salem, Ohio. He was exposed

to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing products

(“Roundup”) for personal uses at his residence and while being employed as a maintenance worker

at a cemetery. He used and/or was exposed to Roundup from at least 1969 and 2014. He was

diagnosed with non-Hodgkins Lymphoma on or about April 17, 2020 as a result of exposure to

Roundup.

       90.     Plaintiff Shawn McNea as Wrongful Death Heir and Personal Representative of the

Estate of Constance Hundley, deceased, and lives in Liberty, Missouri. She is the next of kin and

Personal Representative of the Estate of Constance Hundley, a Missouri Estate. Decedent was

exposed to, purchased and/or used Roundup and/or other Monsanto glyphosate-containing

products (“Roundup”) for personal uses from at least 1974 to 2016. On or about January 2010 she

was diagnosed with non-Hodgkins Lymphoma as a result of exposure to Roundup and died of her

injuries on January 7, 2019.


                                           Defendant

       91.     Defendant Monsanto Company (“Monsanto”) is a Delaware corporation with its

headquarters and principal place of business in St. Louis, Missouri.

                                                26
                                                                                                       Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 30 of 68 PageID #: 40




         92.   At all times relevant to this petition, Monsanto was the entity that discovered the

herbicidal properties of glyphosate and the manufacturer of Roundup®.

 II.     JOINDER AND VENUE

         95.   At all times relevant hereto, Monsanto was in the business of researching,

designing, formulating, compounding, testing, manufacturing, producing, processing, assembling,

inspecting, distributing, labeling, and packaging and Monsanto was in the business of marketing,

promoting, and/or advertising Roundup® products in the State of Missouri and the County of St.

Louis.

         96.   At all times relevant hereto, Monsanto was a Delaware corporation with its

headquarters and principal place of business in St. Louis, Missouri, and therefore is a local

defendant for purposes of removal and diversity jurisdiction.

         97.   All Plaintiffs herein are properly joined pursuant to Rule 52.05(a) of the Missouri

rules of Civil Procedure as their claims all arise out of the same series of transactions or

occurrences. All claims in this action are a direct and proximate result of Defendants’ negligent,

willful, and wrongful conduct in connection with the design, development, manufacture, testing,

packaging, promoting, marketing, distribution, and/or sale of the products as Roundup®, which

was conducted without regard to individual Plaintiff differences. All Plaintiffs in this action seek

recovery for damages as a result of developing Non-Hodgkin’s Lymphoma (“NHL”), Hodgkin’s

Lymphoma, Lymphoma, Multiple Myeloma, and/or Leukemia, which was directly and

proximately caused by such wrongful conduct by Defendant, the unreasonably dangerous and

defective nature of Roundup®, and its active ingredient, glyphosate, and the attendant effects of

developing Non-Hodgkin’s Lymphoma (“NHL”), Hodgkin’s Lymphoma, Lymphoma, Multiple




                                                27
                                                                                                           Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 31 of 68 PageID #: 41




Myeloma, and/or Leukemia. All of the claims involve common questions of law and fact and share

legal and medical issues that arise out of all of the Plaintiffs’ exposures to Roundup®.

       98.     Further, Mo. Rev. Stat. § 508.010.5(1) and § 508.010.9 provide:

       5. Notwithstanding any other provision of law, in all actions in which there is a count
       alleging a tort and in which the plaintiff was first injured outside the state of Missouri,
       venue shall be determined as follows:

       (1) If the defendant is a corporation, then venue shall be in any county where a defendant
           corporation’s registered agent is located or, if the plaintiff’s principal place of residence
           was in the state of Missouri on the date the plaintiff was first injured, then venue may
           be in the county of the plaintiff’s principal place of residence on the date the plaintiff
           was first injured.

       9. In all actions, venue shall be determined as of the date the plaintiff was first injured.

       99.     Defendant Monsanto Company’s registered agent from 1942 until 2004 was CT

Corporation System. From at least 1974 until April 20, 1998, CT Corporation System had its

registered office and was located within the City of St. Louis. From at least 1974 until 1988, CT

Corporation System was located at 314 North Broadway, St. Louis, Missouri 63102. From 1988

until April of 1998, CT Corporation System was located at 906 Olive Street, St. Louis, Missouri

63101. Thus, from at least 1974 through April 20, 1998, service could only be effectuated in the

City of St. Louis.

       100.    Venue is further proper in the City of St. Louis pursuant to Mo. Rev. Stat. §

508.010.5(1) and § 508.010.9 because this is a tort case in which many of the Plaintiffs were first

injured outside the state of Missouri, and the registered agent for Defendant Monsanto was located

in the City of St. Louis at the time of one or more of those Plaintiffs’ first exposure to Roundup®.

       101.    Plaintiffs have timely filed this lawsuit less than one year from the time the

Plaintiffs knew or reasonably knew of the injury and that it may have been wrongfully caused.

III.   ALLEGATIONS COMMON TO ALL COUNTS


                                                  28
                                                                                                     Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 32 of 68 PageID #: 42




       102.    In 1970, Defendant Monsanto Company discovered the herbicidal properties of

glyphosate and began marketing it in products in 1974 under the brand name Roundup®.

Roundup® is a non-selective herbicide used to kill weeds that commonly compete with the

growing of crops. By 2001, glyphosate had become the most-used active ingredient in American

agriculture with 85–90 millions of pounds used annually. That number grew to 185 million pounds

by 2007. As of 2013, glyphosate was the world’s most widely used herbicide.

       103.    Monsanto is a multinational agricultural biotechnology corporation based in St.

Louis, Missouri. It is the world's leading producer of glyphosate. As of 2009, Monsanto was the

world’s leading producer of seeds, accounting for 27% of the world seed market. The majority of

these seeds are of the Roundup Ready® brand. The stated advantage of Roundup Ready® crops

is that they substantially improve a farmer’s ability to control weeds, since glyphosate can be

sprayed in the fields during the growing season without harming their crops. In 2010, an estimated

70% of corn and cotton, and 90% of soybean fields in the United States were Roundup Ready®.

       104.    Monsanto’s glyphosate products are registered in 130 countries and approved for

use on over 100 different crops. They are ubiquitous in the environment. Numerous studies

confirm that glyphosate is found in rivers, streams, and groundwater in agricultural areas where

Roundup® is used. It has been found in food, in the urine of agricultural workers, and even in the

urine of urban dwellers who are not in direct contact with glyphosate.

       105.    On March 20, 2015, the International Agency for Research on Cancer (“IARC”),

an agency of the World Health Organization (“WHO”), issued an evaluation of several herbicides,

including glyphosate. That evaluation was based, in part, on studies of exposures to glyphosate in

several countries around the world, and it traces the health implications from exposure to

glyphosate since 2001.


                                               29
                                                                                                     Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 33 of 68 PageID #: 43




       106.    On July 29, 2015, IARC issued the formal monograph relating to glyphosate. In

that monograph, the IARC Working Group provides a thorough review of the numerous studies

and data relating to glyphosate exposure in humans.

       107.    The IARC Working Group classified glyphosate as a Group 2A herbicide, which

means that it is probably carcinogenic to humans. The IARC Working Group concluded that the

cancers most associated with glyphosate exposure are non-Hodgkin lymphoma and other

hematopoietic cancers, including lymphocytic lymphoma/chronic lymphocytic leukemia, B-cell

lymphoma, and multiple myeloma.

       108.    The IARC evaluation is significant. It confirms what has been believed for years:

that glyphosate is toxic to humans.

       109.    Nevertheless, Monsanto, since it began selling Roundup®, has represented it as

safe to humans and the environment. Indeed, Monsanto has repeatedly proclaimed and continues

to proclaim to the world, and particularly to United States consumers, that glyphosate-based

herbicides, including Roundup®, create no unreasonable risks to human health or to the

environment.

IV.    FACTS

       110.    Glyphosate is a broad-spectrum, non-selective herbicide used in a wide variety of

herbicidal products around the world.

       111.    Plants treated with glyphosate translocate the systemic herbicide to their roots,

shoot regions and fruit, where it interferes with the plant’s ability to form aromatic amino acids

necessary for protein synthesis. Treated plants generally die within two to three days. Because

plants absorb glyphosate, it cannot be completely removed by washing or peeling produce or by

milling, baking, or brewing grains.


                                               30
                                                                                                      Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 34 of 68 PageID #: 44




       112.    For nearly 40 years, farms across the world have used Roundup® without knowing

of the dangers its use poses. That is because when Monsanto first introduced Roundup®, it touted

glyphosate as a technological breakthrough: it could kill almost every weed without causing harm

either to people or to the environment. Of course, history has shown that not to be true. According

to the WHO, the main chemical ingredient of Roundup®—glyphosate—is a probable cause of

cancer. Those most at risk are farm workers and other individuals with workplace exposure to

Roundup®, such as workers in garden centers, nurseries, and landscapers. Agricultural workers

are, once again, victims of corporate greed. Monsanto assured the public that Roundup® was

harmless. In order to prove this, Monsanto championed falsified data and attacked legitimate

studies that revealed its dangers. Monsanto led a prolonged campaign of misinformation to

convince government agencies, farmers, and the general population that Roundup® was safe.

                    The Discovery of Glyphosate and Development of Roundup®

       113.    The herbicidal properties of glyphosate were discovered in 1970 by Monsanto

chemist John Franz. The first glyphosate-based herbicide was introduced to the market in the mid-

1970s under the brand name Roundup®. From the outset, Monsanto marketed Roundup® as a

“safe” general-purpose herbicide for widespread commercial and consumer use; Monsanto still

markets Roundup® as safe today.

                            Registration of Herbicides under Federal Law

       114.    The manufacture, formulation and distribution of herbicides, such as Roundup®,

are regulated under the Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA” or “Act”),

7 U.S.C. § 136 et seq. FIFRA requires that all pesticides be registered with the Environmental

Protection Agency (“EPA” or “Agency”) prior to their distribution, sale, or use, except as

described by the Act. 7 U.S.C. § 136a(a).

                                                31
                                                                                                       Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 35 of 68 PageID #: 45




       115.    Because pesticides are toxic to plants, animals, and humans, at least to some degree,

the EPA requires as part of the registration process, among other things, a variety of tests to

evaluate the potential for exposure to pesticides, toxicity to people and other potential non-target

organisms, and other adverse effects on the environment. Registration by the EPA, however, is not

an assurance or finding of safety. The determination the Agency must make in registering or re-

registering a product is not that the product is “safe,” but rather that use of the product in

accordance with its label directions “will not generally cause unreasonable adverse effects on the

environment.” 7 U.S.C. § 136a(c)(5)(D).

       116.    FIFRA defines “unreasonable adverse effects on the environment” to mean “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb). FIFRA thus

requires EPA to make a risk/benefit analysis in determining whether a registration should be

granted or allowed to continue to be sold in commerce.

       117.    The EPA registered Roundup® for distribution, sale, and manufacture in the United

States and the States of Missouri.

       118.    FIFRA generally requires that the registrant, Monsanto in the case of Roundup®,

conducts the health and safety testing of pesticide products. The EPA has protocols governing the

conduct of tests required for registration and the laboratory practices that must be followed in

conducting these tests. The data produced by the registrant must be submitted to the EPA for

review and evaluation. The government is not required, nor is it able, however, to perform the

product tests that are required of the manufacturer.

       119.    The evaluation of each pesticide product distributed, sold, or manufactured is

completed at the time the product is initially registered. The data necessary for registration of a


                                                32
                                                                                                       Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 36 of 68 PageID #: 46




pesticide has changed over time. The EPA is now in the process of re-evaluating all pesticide

products through a Congressionally mandated process called “re-registration.” 7 U.S.C. § 136a-1.

In order to reevaluate these pesticides, the EPA is demanding the completion of additional tests

and the submission of data for the EPA’s review and evaluation.

       120.    In the case of glyphosate, and therefore Roundup®, the EPA had planned on

releasing its preliminary risk assessment —in relation to the re-registration process—no later than

July 2015. The EPA completed its review of glyphosate in early 2015, but it delayed releasing the

risk assessment pending further review in light of the WHO’s health-related findings.

           Scientific Fraud Underlying the Marketing and Sale of Glyphosate/Roundup

       121.    Based on early studies that glyphosate could cause cancer in laboratory animals,

the EPA originally classified glyphosate as possibly carcinogenic to humans (Group C) in 1985.

After pressure from Monsanto, including contrary studies it provided to the EPA, the EPA changed

its classification to evidence of non-carcinogenicity in humans (Group E) in 1991. In so classifying

glyphosate, however, the EPA made clear that the designation did not mean the chemical does not

cause cancer: “It should be emphasized, however, that designation of an agent in Group E is based

on the available evidence at the time of evaluation and should not be interpreted as a definitive

conclusion that the agent will not be a carcinogen under any circumstances.”

       122.    On two occasions, the EPA found that the laboratories hired by Monsanto to test

the toxicity of its Roundup® products for registration purposes committed fraud.

       123.    In the first instance, Monsanto, in seeking initial registration of Roundup® by EPA,

hired Industrial Bio-Test Laboratories (“IBT”) to perform and evaluate pesticide toxicology

studies relating to Roundup®. IBT performed about 30 tests on glyphosate and glyphosate-

containing products, including nine of the 15 residue studies needed to register Roundup®.


                                                33
                                                                                                            Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 37 of 68 PageID #: 47




       124.    In 1976, the United States Food and Drug Administration (“FDA”) performed an

inspection of Industrial Bio-Test Industries (“IBT”) that revealed discrepancies between the raw

data and the final report relating to the toxicological impacts of glyphosate. The EPA subsequently

audited IBT; it too found the toxicology studies conducted for the Roundup® herbicide to be

invalid. An EPA reviewer stated, after finding “routine falsification of data” at IBT, that it was

“hard to believe the scientific integrity of the studies when they said they took specimens of the

uterus from male rabbits.”

       125.    Three top executives of IBT were convicted of fraud in 1983.

       126.    In the second incident of data falsification, Monsanto hired Craven Laboratories in

1991 to perform pesticide and herbicide studies, including for Roundup®. In that same year, the

owner of Craven Laboratories and three of its employees were indicted, and later convicted, of

fraudulent laboratory practices in the testing of pesticides and herbicides.

       127.    Despite the falsity of the tests that underlie its registration, within a few years of its

launch, Monsanto was marketing Roundup® in 115 countries.

              The Importance of Roundup® to Monsanto’s Market Dominance Profits

       128.    The success of Roundup® was key to Monsanto’s continued reputation and

dominance in the marketplace. Largely due to the success of Roundup® sales, Monsanto’s

agriculture division was out performing its chemicals division’s operating income, and that gap

increased yearly. But with its patent for glyphosate expiring in the United States in the year 2000,

Monsanto needed a strategy to maintain its Roundup® market dominance and to ward off

impending competition.

       129.    In response, Monsanto began the development and sale of genetically engineered

Roundup Ready® seeds in 1996. Since Roundup Ready® crops are resistant to glyphosate; farmers


                                                  34
                                                                                                    Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 38 of 68 PageID #: 48




can spray Roundup® onto their fields during the growing season without harming the crop. This

allowed Monsanto to expand its market for Roundup® even further; by 2000, Monsanto’s

biotechnology seeds were planted on more than 80 million acres worldwide and nearly 70% of

American soybeans were planted from Roundup Ready® seeds. It also secured Monsanto’s

dominant share of the glyphosate/Roundup® market through a marketing strategy that coupled

proprietary Roundup Ready® seeds with continued sales of its Roundup® herbicide.

       130.    Through a three-pronged strategy of increased production, decreased prices, and by

coupling with Roundup Ready® seeds, Roundup® became Monsanto’s most profitable product.

In 2000, Roundup® accounted for almost $2.8 billion in sales, outselling other herbicides by a

margin of five to one, and accounting for close to half of Monsanto’s revenue. Today, glyphosate

remains one of the world's largest herbicides by sales volume.

        Monsanto has known for decades that it falsely advertises the safety of Roundup®.

       131.    In 1996, the New York Attorney General (“NYAG”) filed a lawsuit against

Monsanto based on its false and misleading advertising of Roundup ® products. Specifically, the

lawsuit challenged Monsanto’s general representations that its spray-on glyphosate-based

herbicides, including Roundup®, were “safer than table salt” and "practically non-toxic" to

mammals, birds, and fish. Among the representations the NYAG found deceptive and misleading

about the human and environmental safety of Roundup® are the following:

       a) Remember that environmentally friendly Roundup herbicide is biodegradable. It won't

           build up in the soil so you can use Roundup with confidence along customers'

           driveways, sidewalks and fences ...




                                                 35
                                                                                                    Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 39 of 68 PageID #: 49




     b) And remember that Roundup is biodegradable and won't build up in the soil. That will

        give you the environmental confidence you need to use Roundup everywhere you've

        got a weed, brush, edging or trimming problem.

     c) Roundup biodegrades into naturally occurring elements.

     d) Remember that versatile Roundup herbicide stays where you put it. That means there's

        no washing or leaching to harm customers' shrubs or other desirable vegetation.

     e) This non-residual herbicide will not wash or leach in the soil. It ... stays where you

        apply it.

     f) You can apply Accord with “confidence because it will stay where you put it” it bonds

        tightly to soil particles, preventing leaching. Then, soon after application, soil

        microorganisms biodegrade Accord into natural products.

     g) Glyphosate is less toxic to rats than table salt following acute oral ingestion.

     h) Glyphosate's safety margin is much greater than required. It has over a 1,000-fold safety

        margin in food and over a 700-fold safety margin for workers who manufacture it or

        use it.

     i) You can feel good about using herbicides by Monsanto. They carry a toxicity category

        rating of 'practically non-toxic' as it pertains to mammals, birds and fish.

     j) “Roundup can be used where kids and pets will play and breaks down into natural

        material.” This ad depicts a person with his head in the ground and a pet dog standing

        in an area which has been treated with Roundup.

     132.   On November 19, 1996, Monsanto entered into an Assurance of Discontinuance

     with NYAG, in which Monsanto agreed, among other things, “to cease and desist from




                                              36
                                                                                                      Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 40 of 68 PageID #: 50




       publishing or broadcasting any advertisements [in New York] that represent, directly or by

       implication” that:

           a) its glyphosate-containing pesticide products or any component thereof are safe,

               non-toxic, harmless or free from risk. ***

           b) its glyphosate-containing pesticide products or any component thereof

               manufactured, formulated, distributed or sold by Monsanto are biodegradable ***

           c) its glyphosate-containing pesticide products or any component thereof stay where

               they are applied under all circumstances and will not move through the environment

               by any means. ***

           d) its glyphosate-containing pesticide products or any component thereof are "good"

               for the environment or are "known for their environmental characteristics." * * *

           e) glyphosate-containing pesticide products or any component thereof are safer or less

               toxic than common consumer products other than herbicides;

           f) its glyphosate-containing products or any component thereof might be classified as

               "practically non-toxic."

       133.    Monsanto did not alter its advertising in the same manner in any state other than

New York, and on information and belief still has not done so today.

       134.    In 2009, France’s highest court ruled that Monsanto had not told the truth about the

safety of Roundup®. The French court affirmed an earlier judgement that Monsanto had falsely

advertised its herbicide Roundup® as “biodegradable” and that it “left the soil clean.”

                        Classifications and Assessments of Glyphosate

       135.    The IARC process for the classification of glyphosate followed the stringent

procedures for the evaluation of a chemical agent. Over time, the IARC Monograph program has


                                                37
                                                                                                        Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 41 of 68 PageID #: 51




reviewed 980 agents. Of those reviewed, it has determined 116 agents to be Group 1 (Known

Human Carcinogens); 73 agents to be Group 2A (Probable Human Carcinogens); 287 agents to be

Group 2B (Possible Human Carcinogens); 503 agents to be Group 3 (Not Classified); and one

agent to be Probably Not Carcinogenic.

       136.    The established procedure for IARC Monograph evaluations is described in the

IARC Programmer’s Preamble. Evaluations are performed by panels of international experts,

selected on the basis of their expertise and the absence of actual or apparent conflicts of interest.

       137.    One year before the Monograph meeting, the meeting is announced and there is a

call both for data and for experts. Eight months before the Monograph meeting, the Working Group

membership is selected, and the sections of the Monograph are developed by the Working Group

members. One month prior to the Monograph meeting, the call for data is closed and the various

draft sections are distributed among Working Group members for review and comment. Finally,

at the Monograph meeting, the Working Group finalizes review of all literature, evaluates the

evidence in each category, and completes the overall evaluation. Within two weeks after the

Monograph meeting, the summary of the Working Group findings is published in Lancet

Oncology, and within a year after the meeting, the final Monograph is finalized and published.

       138.    In assessing an agent, the IARC Working Group reviews the following information:

               a)      human, experimental, and mechanistic data;

               b)      all pertinent epidemiological studies and cancer bioassays; and

               c)      representative mechanistic data. The studies must be publicly available and

have sufficient detail for meaningful review, and reviewers cannot be associated with the

underlying study.




                                                 38
                                                                                                    Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 42 of 68 PageID #: 52




       139.      In March 2015, IARC reassessed glyphosate. The summary published in The

Lancet Oncology reported that glyphosate is a Group 2A agent and probably carcinogenic in

humans.

       140.      On July 29, 2015, IARC issued its Monograph for glyphosate, Monograph 112. For

Volume 112, the volume that assessed glyphosate, a Working Group of 17 experts from 11

countries met at IARC from March 3–10, 2015, to assess the carcinogenicity of certain herbicides,

including glyphosate. The March meeting culminated nearly a one-year review and preparation by

the IARC Secretariat and the Working Group, including a comprehensive review of the latest

available scientific evidence. According to published procedures, the Working Group considered

“reports that have been published or accepted for publication in the openly available scientific

literature” as well as “data from governmental reports that are publicly available.”

       141.      The studies considered the following exposure groups: occupational exposure of

farmers and tree nursery workers in the United States, forestry workers in Canada and Finland,

and municipal weed-control workers in the United Kingdom; and para-occupational exposure in

farming families.

       142.      Glyphosate was identified as the second-most used household herbicide in the

United States for weed control between 2001 and 2007 and the most heavily used herbicide in the

world in 2012.

       143.      Exposure pathways are identified as air (especially during spraying), water, and

food. Community exposure to glyphosate is widespread and found in soil, air, surface water, and

groundwater, as well as in food.




                                                39
                                                                                                   Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 43 of 68 PageID #: 53




        144.   The assessment of the IARC Working Group identified several case control studies

of occupational exposure in the United States, Canada, and Sweden. These studies show a human

health concern from agricultural and other work-related exposure to glyphosate.

        145.   The IARC Working Group found an increased risk between exposure to glyphosate

and non-Hodgkin lymphoma (“NHL”) and several subtypes of NHL, and the increased risk

persisted after adjustment for other pesticides.

        146.   The IARC Working Group also found that glyphosate caused DNA and

chromosomal damage in human cells. One study in community residents reported increases in

blood markers of chromosomal damage (micronuclei) after glyphosate formulations were sprayed.

        147.   In male CD-1 mice, glyphosate induced a positive trend in the incidence of a rare

tumor, renal tubule carcinoma. A second study reported a positive trend for haemangiosarcoma in

male mice. Glyphosate increased pancreatic islet-cell adenoma in male rats in two studies. A

glyphosate formulation promoted skin tumors in an initiation-promotion study in mice.

        148.   The IARC Working Group also noted that glyphosate has been detected in the urine

of agricultural workers, indicating absorption. Soil microbes degrade glyphosate to

aminomethylphosphoric acid (AMPA). Blood AMPA detection after exposure suggests intestinal

microbial metabolism in humans.

        149.   The IARC Working Group further found that glyphosate and glyphosate

formulations induced DNA and chromosomal damage in mammals, and in human and animal cells

in utero.

        150.   The IARC Working Group also noted genotoxic, hormonal, and enzymatic effects

in mammals exposed to glyphosate. Essentially, glyphosate inhibits the biosynthesis of aromatic




                                                   40
                                                                                                         Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 44 of 68 PageID #: 54




amino acids, which leads to several metabolic disturbances, including the inhibition of protein and

secondary product biosynthesis and general metabolic disruption.

       151.    The IARC Working Group also reviewed an Agricultural Health Study, consisting

of a prospective cohort of 57,311 licensed pesticide applicators in Iowa and North Carolina. While

this study differed from others in that it was based on a self-administered questionnaire, the results

support an association between glyphosate exposure and Multiple Myeloma, Hairy Cell Leukemia

(HCL), and Chronic Lymphocytic Leukemia (CLL), in addition to several other cancers.

               Other Earlier Findings About Glyphosate’s Dangers to Human Health

       152.    The EPA has a technical fact sheet, as part of its Drinking Water and Health,

National Primary Drinking Water Regulations publication, relating to glyphosate. This technical

fact sheet predates the IARC March 20, 2015, evaluation. The fact sheet describes the release

patterns for glyphosate as follows:

                                             Release Patterns

       153.    Glyphosate is released to the environment in its use as a herbicide for controlling

woody and herbaceous weeds on forestry, right-of-way, cropped and non-cropped sites. These

sites may be around water and in wetlands. It may also be released to the environment during its

manufacture, formulation, transport, storage, disposal, and cleanup, and from spills. Since

glyphosate is not a listed chemical in the Toxics Release Inventory, data on releases during its

manufacture and handling are not available. Occupational workers and home gardeners may be

exposed to glyphosate by inhalation and dermal contact during spraying, mixing, and cleanup.

They may also be exposed by touching soil and plants to which glyphosate was applied.

Occupational exposure may also occur during glyphosate's manufacture, transport storage, and

disposal.

                                                 41
                                                                                                        Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 45 of 68 PageID #: 55




       154.    In 1995, the Northwest Coalition for Alternatives to Pesticides reported that in

California, the state with the most comprehensive program for reporting of pesticide-caused

illness, glyphosate was the third most commonly reported cause of pesticide illness among

agricultural workers.

                          Recent Worldwide Bans on Roundup®/Glyphosate

       155.    Several countries around the world have instituted bans on the sale of Roundup®

and other glyphosate-containing herbicides, both before and since IARC first announced its

assessment for glyphosate in March 2015, and more countries undoubtedly will follow suit as the

dangers of the use of Roundup® are more widely known. The Netherlands issued a ban on all

glyphosate-based herbicides in April 2014, including Roundup®, which took effect by the end of

2015. In issuing the ban, the Dutch Parliament member who introduced the successful legislation

stated: “Agricultural pesticides in user-friendly packaging are sold in abundance to private persons.

In garden centers, Roundup® is promoted as harmless, but unsuspecting customers have no idea

what the risks of this product are. Especially children are sensitive to toxic substances and should

therefore not be exposed to it.”

       156.    The Brazilian Public Prosecutor in the Federal District requested that the Brazilian

Justice Department suspend the use of glyphosate.

       157.    France banned the private sale of Roundup® and glyphosate following the IARC

assessment for Glyphosate.

       158.    Bermuda banned both the private and commercial sale of glyphosates, including

Roundup®. The Bermuda government explained its ban as follows: “Following a recent scientific

study carried out by a leading cancer agency, the importation of weed spray ‘Roundup’ has been

suspended.”


                                                 42
                                                                                                         Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 46 of 68 PageID #: 56




        159.    The Sri Lankan government banned the private and commercial use of glyphosates,

particularly out of concern that glyphosate has been linked to fatal kidney disease in agricultural

workers.

        160.    The government of Colombia announced its ban on using Roundup® and

glyphosate to destroy illegal plantations of coca, the raw ingredient for cocaine, because of the

WHO’s finding that glyphosate is probably carcinogenic.

     V.     EQUITABLE TOLLING OF APPLICABLE STATUTE OF LIMITATIONS

        161.    Plaintiffs incorporate by reference all prior paragraphs of this Complaint as if fully

set forth herein.

        162.    The running of any statute of limitations has been tolled by reason of Defendant’s

fraudulent concealment. Defendant, through its affirmative misrepresentations and omissions,

actively concealed from Plaintiffs the true risks associated with Roundup and glyphosate.

        163.    At all relevant times, Defendant has maintained that Roundup is safe, non-toxic,

and non-carcinogenic.

        164.    Indeed, even as of July 2020, Defendant continued to represent to the public that

“Glyphosate is one of the most studied herbicides in the world – and, like all crop protection

products, it is subject to rigorous testing and oversight by regulatory authorities. There is

an extensive body of research on glyphosate and glyphosate-based herbicides, including

more than 800 scientific studies submitted to U.S., submitted to U.S. or other worldwide

regulators in connection with the registration process, that confirm that glyphosate and our

glyphosate-based formulated products can be used safely and do not cause cancer. ”




                                                 43
                                                                                                                   Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 47 of 68 PageID #: 57




(emphasis added).1As a result of Defendant’s actions, Plaintiffs were unaware, and could not

reasonably know or have learned through reasonable diligence that Roundup and/or glyphosate

contact, exposed Plaintiffs to the risks alleged herein and that those risks were the direct and

proximate result of Defendant’s acts and omissions.

        165.     In fact, Defendant has increased its advertising of glyphosate-based products in the

wake of all of this evidence.2 In 2020 alone, Defendant has spent over $8,500,000 to advertise

directly to consumers in an attempt to sell them glyphosate-based products.

        166.     Furthermore, Defendant is estopped from relying on any statute of limitations

because of its fraudulent concealment of the true character, quality and nature of Roundup.

Defendant was under a duty to disclose the true character, quality, and nature of Roundup because

this was non-public information over which Defendant had and continues to have exclusive

control, and because Defendant knew that this information was not available to Plaintiffs or to

distributors of Roundup. In addition, Defendant is estopped from relying on any statute of

limitations because of its intentional concealment of these facts.

        167.     Plaintiffs had no knowledge that Defendant was engaged in the wrongdoing alleged

herein. Because of the fraudulent acts of concealment of wrongdoing by Defendant, Plaintiffs

could not have reasonably discovered the wrongdoing at any time prior. Also, the economics of

this fraud should be considered. Defendant had the ability to and did spend enormous amounts of

money in furtherance of its purpose of marketing, promoting and/or distributing a profitable

herbicide, notwithstanding the known or reasonably known risks. Plaintiff and medical

professionals could not have afforded and could not have possibly conducted studies to determine


1
  Bayer Website Common Questions - Is Glyphosate Safe? at https://www.bayer.com/en/is-glyphosate-safe.aspx (last
accessed July 23, 2020).
2 https://www.wsj.com/articles/roundup-sellers-boost-advertising-as-lawsuits-mount-for-weedkiller-11556738038

(last accessed August 19, 2020).
                                                      44
                                                                                                        Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 48 of 68 PageID #: 58




the nature, extent, and identity of related health risks, and were forced to rely on only the

Defendant’s representations. Accordingly, Defendant is precluded by the discovery rule and/or the

doctrine of fraudulent concealment from relying upon any statute of limitations.

VI.    CLAIMS

                                       COUNT I
                           STRICT LIABILITY (DESIGN DEFECT)
                                 (AGAINST MONSANTO)

       168.    Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       169.    Plaintiffs bring this strict liability claim against Monsanto for defective design.

       170.    At all times relevant to this litigation, Monsanto engaged in the business of testing,

developing, manufacturing, selling, distributing, and Monsanto engaged in the marketing,

packaging design, and promotion of Roundup® products, which are defective and unreasonably

dangerous to consumers, including Plaintiffs, thereby placing Roundup® products into the stream

of commerce. These actions were under the ultimate control and supervision of Monsanto. At all

times relevant to this litigation, Monsanto designed, researched, developed, manufactured,

produced, tested, assembled, labeled, advertised, promoted, marketed, sold, and distributed the

Roundup® products used by the Plaintiffs, as described above.

       171.    At all times relevant to this litigation, Roundup® products were manufactured,

designed, and labeled in an unsafe, defective, and inherently dangerous manner that was dangerous

for use by or exposure to the public, and, in particular, the Plaintiffs.

       172.    At all times relevant to this litigation, Roundup® products reached the intended

consumers, handlers, and users or other persons coming into contact with these products in



                                                  45
                                                                                                        Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 49 of 68 PageID #: 59




Missouri and throughout the United States, including Plaintiffs, without substantial change in their

condition as designed, manufactured, sold, distributed, labeled, and marketed by Monsanto.

        173.   Roundup® products, as researched, tested, developed, designed, licensed,

manufactured, packaged, labeled, distributed, sold, and marketed by Monsanto were defective in

design and formulation in that when they left the hands of the manufacturers and/or suppliers, they

were unreasonably dangerous and dangerous to an extent beyond that which an ordinary consumer

would contemplate.

        174.   Roundup® products, as researched, tested, developed, designed, licensed,

manufactured, packaged, labeled, distributed, sold, and marketed by Monsanto were defective in

design and formulation in that when they left the hands of the manufacturers and/or suppliers, the

foreseeable risks exceeded the alleged benefits associated with their design and formulation.

        175.   At all times relevant to this action, Monsanto knew or had reason to know that

Roundup® products were defective and were inherently dangerous and unsafe when used in the

manner instructed and provided by Monsanto.

        176.   Therefore, at all times relevant to this litigation, Roundup® products, as researched,

tested, developed, designed, licensed, manufactured, packaged, labeled, distributed, sold, and

marketed by Monsanto were defective in design and formulation, in one or more of the following

ways:

        a)     When placed in the stream of commerce, Roundup® products were defective in

        design and formulation, and, consequently, dangerous to an extent beyond that which an

        ordinary consumer would contemplate.




                                                46
                                                                                                      Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 50 of 68 PageID #: 60




               b)      When placed in the stream of commerce, Roundup® products were

       unreasonably dangerous in that they were hazardous and posed a grave risk of cancer and

       other serious illnesses when used in a reasonably anticipated manner.

               c)      When placed in the stream of commerce, Roundup® products contained

       unreasonably dangerous design defects and were not reasonably safe when used in a

       reasonably anticipated or intended manner.

               d)      Monsanto did not sufficiently test, investigate, or study Roundup® products

       and, specifically, the active ingredient glyphosate.

               e)      Exposure to Roundup® and glyphosate-containing products presents a risk

       of harmful side effects that outweigh any potential utility stemming from the use of the

       herbicide.

               f)      At the time of marketing its Roundup® products, Roundup® was defective

       in that exposure to Roundup® and specifically, its active ingredient glyphosate, could

       result in cancer and other severe illnesses and injuries.

               g)      Monsanto did not conduct adequate post-marketing surveillance of its

       Roundup® products.

               h)      Monsanto could have employed safer alternative designs and formulations.

       177.    Plaintiffs were exposed to Roundup® products in the course of their work, as

described above, without knowledge of their dangerous characteristics.

       178.    At all times relevant to this litigation, Plaintiffs used and/or were exposed to the

use of Roundup® products in an intended or reasonably foreseeable manner without knowledge

of their dangerous characteristics.




                                                47
                                                                                                         Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 51 of 68 PageID #: 61




        179.      Plaintiff could not have reasonably discovered the defects and risks associated with

Roundup® or glyphosate-containing products before or at the time of exposure.

        180.      The harm caused by Roundup® products far outweighed their benefit, rendering

these products dangerous to an extent beyond that which an ordinary consumer would contemplate.

Roundup® products were and are more dangerous than alternative products and Monsanto could

have designed Roundup® products (including their packaging and sales aids) to make them less

dangerous. Indeed, at the time that Monsanto designed Roundup® products, the state of the

industry’s scientific knowledge was such that a less risky design or formulation was attainable.

        181.      At the time Roundup® products left Monsanto’s control, there was a practical,

technically feasible and safer alternative design that would have prevented the harm without

substantially impairing the reasonably anticipated or intended function of those herbicides.

        182.      Monsanto’s defective design of Roundup® products was willful, wanton,

fraudulent, malicious, and conducted with reckless disregard for the health and safety of users of

the Roundup® products, including the Plaintiffs herein.

        183.      Therefore, as a result of the unreasonably dangerous condition of its Roundup®

products, Monsanto is strictly liable to Plaintiffs.

        184.      The defects in Roundup® products caused or contributed to cause Plaintiffs’ grave

injuries, and, but for Monsanto’s misconduct and omissions, Plaintiffs would not have sustained

their injuries.

        185.      Monsanto’s conduct, as described above, was reckless. Monsanto risked the lives

of consumers and users of its products, including Plaintiffs, with knowledge of the safety problems

associated with Roundup® and glyphosate-containing products, and suppressed this knowledge




                                                   48
                                                                                                        Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 52 of 68 PageID #: 62




from the general public. Monsanto made conscious decisions not to redesign, warn, or inform the

unsuspecting public. Monsanto’s reckless conduct warrants an award of aggravated damages.

       186.    As a direct and proximate result of Monsanto placing defective Roundup® products

into the stream of commerce, Plaintiffs have suffered and continue to suffer grave injuries, and

have endured physical pain and discomfort, as well as economic hardship, including considerable

financial expenses for medical care and treatment.

       WHEREFORE, Plaintiffs pray for judgment against Defendant in a fair and reasonable

sum in excess of $10,000,000.00 together with costs expended herein and such further and other

relief as the Court deems just and appropriate.

                                     COUNT II
                        STRICT LIABILITY (FAILURE TO WARN)
                               (AGAINST MONSANTO)

       187.    Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       188.    Plaintiffs bring this strict liability claim against Monsanto for failure to warn.

       189.    At all times relevant to this litigation, Monsanto engaged in the business of testing,

developing, designing, manufacturing, marketing, selling, distributing, and promoting Roundup®

products, which are defective and unreasonably dangerous to consumers, including Plaintiffs,

because they do not contain adequate warnings or instructions concerning the dangerous

characteristics of Roundup® and, specifically, the active ingredient glyphosate. These actions

were under the ultimate control and supervision of Monsanto.

       190.    Monsanto researched, developed, designed, tested, manufactured, inspected,

labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of commerce

Roundup® products, and in the course of same, directly advertised or marketed the products to

                                                  49
                                                                                                           Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 53 of 68 PageID #: 63




consumers and end users, including the Plaintiffs, and therefore had a duty to warn of the risks

associated with the use of Roundup® and glyphosate-containing products.

       191.    At all times relevant to this litigation, Monsanto had a duty to properly test, develop,

design, manufacture, inspect, package, label, market, promote, sell, distribute, maintain supply,

provide proper warnings, and take such steps as necessary to ensure that Roundup® products did

not cause users and consumers to suffer from unreasonable and dangerous risks. Monsanto had a

continuing duty to warn the Plaintiffs of the dangers associated with Roundup® use and exposure.

Monsanto, as manufacturer, seller, promoter, marketer, or distributor of chemical herbicides are

held to the knowledge of an expert in the field.

       192.    At the time of manufacture, Monsanto could have provided the warnings or

instructions regarding the full and complete risks of Roundup® and glyphosate-containing

products because it knew or should have known of the unreasonable risks of harm associated with

the use of and/or exposure to such products.

       193.    At all times relevant to this litigation, Monsanto failed to investigate, study, test, or

promote the safety or to minimize the dangers to users and consumers of its product and to those

who would foreseeably use or be harmed by these herbicides, including Plaintiffs.

       194.    Despite the fact that Monsanto knew or should have known that Roundup® posed

a grave risk of harm, it failed to exercise reasonable care to warn of the dangerous risks associated

with use and exposure. The dangerous propensities of these products and the carcinogenic

characteristics of glyphosate, as described above, were known to Monsanto, or scientifically

knowable to Monsanto through appropriate research and testing by known methods, at the time it

distributed, marketed, promoted, supplied, or sold the product, and not known to end users and

consumers, such as Plaintiffs.


                                                   50
                                                                                                       Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 54 of 68 PageID #: 64




       195.    These products created significant risks of serious bodily harm to consumers, as

alleged herein, and Monsanto failed to adequately warn consumers and reasonably foreseeable

users of the risks of exposure to its products. Monsanto has wrongfully concealed information

concerning the dangerous nature of Roundup® and its active ingredient glyphosate, and further

made false and/or misleading statements concerning the safety of Roundup® and glyphosate.

       196.    At all times relevant to this litigation, Roundup® products reached the intended

consumers, handlers, and users or other persons coming into contact with these products in

Missouri and throughout the United States, including Plaintiffs, without substantial change in their

condition as designed, manufactured, sold, distributed, labeled, promoted, and marketed by

Monsanto.

       197.    Plaintiffs were exposed to Roundup® products in the course of their employment

and/or personal use of Roundup, without knowledge of its dangerous characteristics.

       198.    At all times relevant to this litigation, Plaintiffs used and/or were exposed to the

use of Roundup® products in their intended or reasonably foreseeable manner without knowledge

of their dangerous characteristics.

       199.    Plaintiffs could not have reasonably discovered the defects and risks associated

with Roundup® or glyphosate-containing products prior to or at the time of Plaintiffs’ exposure.

Plaintiffs relied upon the skill, superior knowledge, and judgment of Monsanto.

       200.    These products were defective because the minimal warnings disseminated with

Roundup® products were inadequate, and they failed to communicate adequate information on the

dangers and safe use/exposure and failed to communicate warnings and instructions that were

appropriate and adequate to render the products safe for their ordinary, intended, and reasonably

foreseeable uses, including agricultural and landscaping applications.


                                                51
                                                                                                           Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 55 of 68 PageID #: 65




        201.   The information that Monsanto did provide or communicate failed to contain

relevant warnings, hazards, and precautions that would have enabled consumers such as Plaintiffs

to utilize the products safely and with adequate protection. Instead, Monsanto disseminated

information that was inaccurate, false, and misleading and which failed to communicate accurately

or adequately the comparative severity, duration, and extent of the risk of injuries with use of

and/or exposure to Roundup® and glyphosate; continued to aggressively promote the efficacy of

its products, even after it knew or should have known of the unreasonable risks from use or

exposure; and concealed, downplayed, or otherwise suppressed, through aggressive marketing and

promotion, any information or research about the risks and dangers of exposure to Roundup® and

glyphosate.

        202.   To this day, Monsanto has failed to adequately and accurately warn of the true risks

of Plaintiffs’ injuries associated with the use of and exposure to Roundup® and its active

ingredient glyphosate, a probable carcinogen.

        203.   As a result of their inadequate warnings, Roundup® products were defective and

unreasonably dangerous when they left the possession and/or control of Monsanto, were

distributed, marketed, and promoted by Monsanto, and used by Plaintiffs in their work.

        204.   Monsanto is liable to Plaintiffs for injuries caused by its negligent or willful failure,

as described above, to provide adequate warnings or other clinically relevant information and data

regarding the appropriate use of these products and the risks associated with the use of or exposure

to Roundup® and glyphosate.

        205.   The defects in Roundup® products caused or contributed to cause Plaintiffs’

injuries, and, but for this misconduct and omissions, Plaintiffs would not have sustained their

injuries.


                                                  52
                                                                                                   Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 56 of 68 PageID #: 66




       206.    Had Monsanto provided adequate warnings and instructions and properly disclosed

and disseminated the risks associated with Roundup® products, Plaintiffs could have avoided the

risk of developing injuries as alleged herein.

       207.    As a direct and proximate result of Monsanto placing defective Roundup® products

into the stream of commerce, Plaintiffs have suffered severe injuries and have endured physical

pain and discomfort, as well as economic hardship, including considerable financial expenses for

medical care and treatment.

       WHEREFORE, Plaintiffs pray for judgment against Defendant in a fair and reasonable

sum in excess of $10,000,000.00 together with costs expended herein and such further and other

relief as the Court deems just and appropriate.

                                        COUNT III
                                       NEGLIGENCE
                                   (AGAINST MONSANTO)

       208.    Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       209.    At all relevant times, Defendant knew or should have known of the unreasonably

dangerous and carcinogenic nature of the use of and/or exposure to Roundup®.

       210.    At all relevant times, Defendant, through its labeling, advertisements, public

representations and marketing of Roundup®, intentionally used deception, fraud, false pretenses,

false promises, misrepresentations and unfair trade practices in order to mislead consumers that

Roundup® products are safe for use

       211.    At all relevant times, Defendant also engaged in the concealment, suppression

and/or omission of material facts in connection with the sale and/or advertisement of Roundup®

products in trade or commerce. In particular, Defendant failed to disclose to the public that

                                                  53
                                                                                                      Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 57 of 68 PageID #: 67




Roundup® is unsafe and poses serious health hazards, particularly Non-Hodgkin’s Lymphoma

(“NHL”), Hodgkin’s Lymphoma, Lymphoma, Multiple Myeloma, and/or Leukemia. Defendant

was aware of the hazardous risks posed by Roundup® and yet failed to inform the public of these

risks through their advertisements, labeling, or other means available to them. Defendant’s failure

to state material facts about Roundup® constitutes a violation of V.A.M.S. § 407.020.

       212.    At all relevant times, Plaintiffs were deceived by Defendant’s intentional

misrepresentations and omissions, including by the orchestrated claims made on or in television

commercials, advertising materials, websites, and on product labels and packaging regarding the

usage and safety of Roundup®.

       213.    At all relevant times, Plaintiffs acted in reasonable reliance upon Defendant’s

unlawful trade practices, and had the Defendant not engaged in the deceptive conduct described

herein, Plaintiffs would not have purchased Roundup® and/or would have protected themselves

from exposure to Roundup®.

       214.    As a direct and proximate result of Defendant’s unlawful trade practices, Plaintiffs

developed Non-Hodgkin’s Lymphoma (“NHL”), Hodgkin’s Lymphoma, Lymphoma, Multiple

Myeloma, and/or Leukemia, and have been injured catastrophically and have been caused severe

and permanent pain, suffering, disability, impairment, loss of enjoyment of life, loss of care,

comfort and economic damages.

       WHEREFORE, Plaintiffs pray for judgment against Defendant in a fair and reasonable

sum in excess of $10,000,000.00 together with costs expended herein and such further and other

relief as the Court deems just and appropriate.

                                        COUNT IV
                                       NEGLIGENCE
                                   (AGAINST MONSANTO)

                                                  54
                                                                                                      Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 58 of 68 PageID #: 68




       215.    Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       216.    Monsanto, directly or indirectly, caused Roundup® products to be sold, distributed,

packaged, labeled, marketed, promoted, and/or used by Plaintiffs.

       217.    At all times relevant to this litigation, Monsanto had a duty to exercise reasonable

care in the design, research, manufacture, marketing, advertisement, supply, promotion,

packaging, sale, and distribution of Roundup® products, including the duty to take all reasonable

steps necessary to manufacture, promote, and/or sell a product that was not unreasonably

dangerous to consumers and users of the product.

       218.    At all times relevant to this litigation, Monsanto had a duty to exercise reasonable

care in the marketing, advertisement, and sale of the Roundup® products. Monsanto’s duty of care

owed to consumers and the general public included providing accurate, true, and correct

information concerning the risks of using Roundup® and appropriate, complete, and accurate

warnings concerning the potential adverse effects of exposure to Roundup®, and, in particular, its

active ingredient glyphosate.

       219.    At all times relevant to this litigation, Monsanto knew or, in the exercise of

reasonable care, should have known of the hazards and dangers of Roundup® and specifically, the

carcinogenic properties of the chemical glyphosate.

       220.    Accordingly, at all times relevant to this litigation, Monsanto knew or, in the

exercise of reasonable care, should have known that use of or exposure to its Roundup® products

could cause or be associated with Plaintiffs’ injuries and thus created a dangerous and

unreasonable risk of injury to the users of these products, including Plaintiffs.




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                                                                                                     Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 59 of 68 PageID #: 69




       221.    Monsanto also knew or, in the exercise of reasonable care, should have known that

users and consumers of Roundup® were unaware of the risks and the magnitude of the risks

associated with use of and/or exposure to Roundup® and glyphosate-containing products.

       222.    As such, Monsanto breached the duty of reasonable care and failed to exercise

ordinary care in the design, research, development, manufacture, testing, marketing, supply,

promotion, advertisement, packaging, sale, and distribution of its Roundup® products, in that

Monsanto manufactured, marketed, promoted, and sold defective herbicides containing the

chemical glyphosate, knew or had reason to know of the defects inherent in these products, knew

or had reason to know that a user’s or consumer’s exposure to the products created a significant

risk of harm and unreasonably dangerous side effects, and failed to prevent or adequately warn of

these risks and injuries.

       223.    Despite an ability and means to investigate, study, and test these products and to

provide adequate warnings, Monsanto has failed to do so. Indeed, Monsanto has wrongfully

concealed information and has further made false and/or misleading statements concerning the

safety and/or exposure to Roundup® and glyphosate.

       224.    Monsanto was negligent in the following respects:

               a)      Manufacturing, producing, promoting, formulating, creating, developing,

       designing, selling, and/or distributing its Roundup® products without thorough and

       adequate pre- and post-market testing;

               b)      Manufacturing, producing, promoting, formulating, creating, developing,

       designing, selling, and/or distributing Roundup® while negligently and/or intentionally

       concealing and failing to disclose the results of trials, tests, and studies of exposure to




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                                                                                                      Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 60 of 68 PageID #: 70




     glyphosate, and, consequently, the risk of serious harm associated with human use of and

     exposure to Roundup®;

             c)     Failing to undertake sufficient studies and conduct necessary tests to

     determine whether or not Roundup® products and glyphosate-containing products were

     safe for their intended use in agriculture and horticulture;

             d)     Failing to use reasonable and prudent care in the design, research,

     manufacture, and development of Roundup® products so as to avoid the risk of serious

     harm associated with the prevalent use of Roundup®/glyphosate as an herbicide;

             e)     Failing to design and manufacture Roundup® products so as to ensure they

     were at least as safe and effective as other herbicides on the market;

             f)     Failing to provide adequate instructions, guidelines, and safety precautions

     to those persons who Monsanto could reasonably foresee would use and be exposed to its

     Roundup® products;

             g)     Failing to disclose to Plaintiffs, users/consumers, and the general public that

     use of and exposure to Roundup® presented severe risks of cancer and other grave

     illnesses;

             h)     Failing to warn Plaintiffs, consumers, and the general public that the

     product’s risk of harm was unreasonable and that there were safer and effective alternative

     herbicides available to Plaintiff and other consumers;

             i)     Systematically suppressing or downplaying contrary evidence about the

     risks, incidence, and prevalence of the side effects of Roundup® and glyphosate-containing

     products;




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                                                                                                       Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 61 of 68 PageID #: 71




               j)      Representing that its Roundup® products were safe for their intended use

       when, in fact, Monsanto knew or should have known that the products were not safe for

       their intended purpose;

               k)      Declining to make or propose any changes to Roundup® products’ labeling

       or other promotional materials that would alert the consumers and the general public of the

       risks of Roundup® and glyphosate;

               l)      Advertising, marketing, and recommending the use of the Roundup®

       products, while concealing and failing to disclose or warn of the dangers known by

       Monsanto to be associated with or caused by the use of or exposure to Roundup® and

       glyphosate;

               m)      Continuing to disseminate information to its consumers, which indicate or

       imply that Monsanto’s Roundup® products are not unsafe for use in the agricultural and

       horticultural industries; and

               n)      Continuing the manufacture and sale of its products with the knowledge that

       the products were unreasonably unsafe and dangerous.

       225.    Monsanto knew and/or should have known that it was foreseeable that consumers

such as Plaintiffs would suffer injuries as a result of Monsanto’s failure to exercise ordinary care

in the manufacturing, marketing, promotion, labeling, distribution, and sale of Roundup®.

       226.    Plaintiffs did not know the nature and extent of the injuries that could result from

the intended use of and/or exposure to Roundup® or its active ingredient glyphosate.

       227.    Monsanto’s negligence was the proximate cause of the injuries, harm, and

economic losses that Plaintiffs suffered, as described herein.




                                                58
                                                                                                            Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 62 of 68 PageID #: 72




       228.      Monsanto’s conduct, as described above, was reckless. Monsanto regularly risked

the lives of consumers and users of its products, including Plaintiffs, with full knowledge of the

dangers of these products. Monsanto has made conscious decisions not to redesign, re-label, warn,

or inform the unsuspecting public, including Plaintiffs.

       229.      As a proximate result of Monsanto’s wrongful acts and omissions in placing

defective Roundup® products into the stream of commerce without adequate warnings of the

hazardous and carcinogenic nature of glyphosate, Plaintiffs have suffered severe and permanent

physical and emotional injuries. Plaintiffs have endured pain and suffering and have suffered

economic losses (including significant expenses for medical care and treatment) in an amount to

be determined.

       WHEREFORE, Plaintiffs pray for judgment against Defendant in a fair and reasonable

sum in excess of $10,000,000.00 together with costs expended herein and such further and other

relief as the Court deems just and appropriate.

                                           COUNT V
                                      (WRONGFUL DEATH)
                                     (AGAINST MONSANTO)

       230.      Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       231.      Plaintiffs bring this claim on behalf of and for the benefit of the decedent Plaintiffs,

Melinda Day as Wrongful Death Heir and Personal Representative of the Estate of Ernest Evans,

Mary Federico as Wrongful Death Heir and Personal Representative of the Estate of Louis

Federico, Jana Fitzgerald as Wrongful Death Heir and Personal Representative of the Estate of

Mark Fitzgerald, Linda Peevyhouse as Wrongful Death Heir and Personal Representative of the

Estate of Jonathon Ford, Janis Frye as Wrongful Death Heir and Personal Representative of the

                                                   59
                                                                                                       Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 63 of 68 PageID #: 73




Estate of Richard Wayne Frye Sr., Linda Wright as Wrongful Death Heir and Personal

Representative of the Estate of Minnie Gamble, Patricia Giefer as Wrongful Death Heir and

Personal Representative of the Estate of Herbert Giefer, Tina Neumann as Wrongful Death Heir

and Personal Representative of the Estate of Linda Golden, Angela Lawler as Wrongful Death

Heir and Personal Representative of the Estate of Harry Griffin, Hannah Hammond as Wrongful

Death Heir and Personal Representative of the Estate of Larry Hammond, Jonathan Settle as

Wrongful Death Heir and Personal Representative of the Estate of Judith Hanson, Karen Harrison

as Wrongful Death Heir and Personal Representative of the Estate of Lyndon Harrison, Brenda

Harvey as Wrongful Death Heir and Personal Representative of the Estate of Edward Harvey,

Cassandra Devereaux as Wrongful Death Heir and Personal Representative of the Estate of David

Henderson Devereaux, Robin Herrera as Wrongful Death Heir and Personal Representative of the

Estate of Alfonso Herrera, Denise Gaffney as Wrongful Death Heir and Personal Representative

of the Estate of Nathan Higginbotham, Mick Hogan as Wrongful Death Heir and Personal

Representative of the Estate of Todd Hogan, Lanisha Gambles as Wrongful Death Heir and

Personal Representative of the Estate of Tyronne Holmes, Diann Horne as Wrongful Death Heir

and Personal Representative of the Estate of Josie Horne and Shawn McNea as Wrongful Death

Heir and Personal Representative of the Estate of Constance Hundley, (hereinafter referred to as

“Decedent Plaintiffs”) and their lawful beneficiaries.

       232.    As a direct and proximate result of the conduct of the Defendants and the defective

nature of Roundup as outlined above, Decedent Plaintiffs suffered bodily injury resulting in pain

and suffering, disability, disfigurement, mental anguish, loss of capacity of the enjoyment of life,

shortened life expectancy, expenses for hospitalization, medical and nursing treatment, loss of

earnings, loss of ability to earn, funeral expenses and death.


                                                 60
                                                                                                         Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 64 of 68 PageID #: 74




       233.    As a direct and proximate cause of the conduct of Defendant, Decedent Plaintiffs’

beneficiaries have incurred hospital, nursing and medical expenses, and estate administration

expenses as a result of Decedent Plaintiffs’ death. Decedent Plaintiffs brings this claim on behalf

of their lawful beneficiaries for these damages and for all pecuniary losses under applicable state

statutory and/or common laws.

       WHEREFORE, Plaintiffs pray for judgment against Defendant in a fair and reasonable

sum in excess of $10,000,000.00 together with costs expended herein and such further and other

relief as the Court deems just and appropriate.

                                         COUNT VI
                                     (SURVIVAL ACTION)
                                    (AGAINST MONSANTO)

       234.    Plaintiffs incorporate by reference each and every allegation set forth in the

preceding paragraphs as if fully stated herein.

       235.    As a direct and proximate result of the conduct of Defendant, where appropriate,

Decedent Plaintiffs, prior to their death, were obligated to spend various sums of money to treat

their injuries, which debts have been assumed by their Estates. As a direct and proximate cause

of the aforesaid, Decedent Plaintiffs endured pain and suffering, mental anguish and impairment

of the enjoyment of life, until the date of their deaths; and, as a direct and proximate result of the

aforesaid, Decedent Plaintiffs lawful beneficiaries suffered a loss of earnings and earning

capacity. Decedent Plaintiffs brings this claim on behalf of their respective estates under

applicable state statutory and/or common laws.

       236.    As a direct and proximate result of the conduct of Defendant, Decedent Plaintiffs

and their spouse and heirs, until the time of their death, suffered a disintegration and deterioration



                                                  61
                                                                                                       Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 65 of 68 PageID #: 75




of the family unit and the relationships existing therein, resulting in enhanced anguish, depression

and other symptoms of psychological stress and disorder.

       237.    As a direct and proximate result of the aforesaid and including the observance of

the suffering and physical deterioration of Decedent Plaintiffs until the date of their death,

Decedent Plaintiffs’ spouses and heirs have and will continue to suffer permanent and ongoing

psychological damage which may require future psychological and medical treatment. Decedent

Plaintiffs’ spouses and/or heirs, Personal Representative of their respective estates, brings the

claim on behalf of the estate for damages under applicable statutory and/or common laws, and in

their own right.

       WHEREFORE, Plaintiffs pray for judgment against Defendant in a fair and reasonable

sum in excess of $10,000,000.00 together with costs expended herein and such further and other

relief as the Court deems just and appropriate.

                                         COUNT VII
                                   (LOSS OF CONSORTIUM)

       238.    Plaintiffs reallege and reaffirm each and every allegation set forth in all preceding

paragraphs as it fully stated herein.

       239.    Spouse Plaintiffs, Mary Federico, Jana Fitzgerald, Janis Frye, Patricia Giefer,

Hannah Hammond, Karen Harrison, Brenda Harvey, Robin Herrera, Diann Horne, were at all

times relevant hereto the spouses of decedents.

       240.    For the reasons set forth herein, Spouse Plaintiffs have been caused to suffer from

the loss of their spouse’s companionship, services and society, and accordingly, the Spouse

Plaintiffs have been caused great mental anguish.




                                                  62
                                                                                                     Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 66 of 68 PageID #: 76




       241.    WHEREFORE, Plaintiffs pray for judgment against Defendant in a fair and

reasonable sum in excess of $10,000,000.00 together with costs expended herein and such further

and other relief as the Court deems just and appropriate.

                                            JURY DEMAND

       242.    Plaintiffs hereby demand a trial by jury on all issues so triable.

                                               DAMAGES

       243.    Plaintiffs incorporate by reference every other paragraph of this Complaint as if

each were set forth fully and completely herein.

       244.    Defendant knew of the dangerous condition of Roundup® products, including that

they posed a danger to their consumers and non-consumers exposed to Roundup® products,

including Plaintiffs, but chose not to include any warnings or information regarding the dangerous

condition of Roundup® products.

       245.    Defendant showed complete indifference to or conscious disregard of the safety of

Plaintiffs by their conduct described herein. Defendant knew or should have known failure to

include a warning for Roundup® products would result in women using and/or being exposed to

Roundup® products and subsequently developing Non-Hodgkin’s Lymphoma (“NHL”),

Hodgkin’s Lymphoma, Lymphoma, Multiple Myeloma, and/or Leukemia.

       WHEREFORE, Plaintiffs pray for judgment against Defendant for:

       a. compensatory damages in an amount to be proven at trial;

       b. costs, including reasonable attorneys’ fees, court costs, and other litigation expenses;

       and

       c. any other relief the Court may deem just and proper.

                                      Respectfully submitted,

                                                 63
                                                                                  Electronically Filed - City of St. Louis - December 08, 2020 - 11:58 AM
Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 67 of 68 PageID #: 77




                              NAPOLI SHKOLNIK, PLLC

                              /s/ Christopher L. Schnieders_____________
                              Christopher L. Schnieders     MO # 57725
                              6731 W. 121st Street, Suite 201
                              Overland Park, KS 66209
                              Telephone: 913-246-3860
                              Fax: 913-312-5841
                              cschnieders@napolilaw.com




                                       64
           Case: 4:21-cv-00215-SRW Doc. #: 1-1 Filed: 02/19/21 Page: 68 of 68 PageID #: 78

               IN THE 22ND JUDICIAL CIRCUIT COURT, CITY OF ST LOUIS, MISSOURI

 Judge or Division:                                         Case Number: 2022-CC10457
 MICHAEL KELLAN MULLEN
 Plaintiff/Petitioner:                                      Plaintiff’s/Petitioner’s Attorney/Address:
 ERNEST EVANS                                               CHRISTOPHER LOUIS SCHNIEDERS
                                                            NAPOLI SHKOLNIK PLLC
                                                            6731 W 121ST STREET SUIT 201
                                                     vs.    OVERLAND PARK, KS 66209
 Defendant/Respondent:                                      Court Address:
 MONSANTO COMPANY                                           CIVIL COURTS BUILDING
                                                            10 N TUCKER BLVD
                                                            SAINT LOUIS, MO 63101
 Nature of Suit:
 CC Pers Injury-Prod Liab                                                                                                    (Date File Stamp)

                                 Summons for Service by Registered or Certified Mail
 The State of Missouri to: MONSANTO COMPANY
                               Alias:

 CSC OF ST LOUIS COUNTY INC
 MC CSC1, RAGT
 9666 OLIVE BLVD SUITE 690
 SAINT LOUIS, MO 63132-3026

                                        You are summoned to appear before this court and to file your pleading to the petition, copy
      COURT SEAL OF
                                  of which is attached, and to serve a copy of your pleading upon the attorney for the
                                  Plaintiff/Petitioner, or Plaintiff/Petitioner, if pro se, at the above address all within 30 days after the
                                  return registered or certified mail receipt signed by you has been filed in this cause. If you fail to
                                  file your pleading, judgment by default will be taken against you for the relief demanded in the
                                  petition.

     CITY OF ST LOUIS
                                        December 8, 2020
                                  _________________________________                     ________________________________________________
                                              Date Issued                                                     Clerk
                                  Further Information:



                                                           Certificate of Mailing
          I certify that on _________________________ (date), I mailed a copy of this summons and a copy of the petition to
    Defendant/Respondent MONSANTO COMPANY by registered or certified mail, requesting a return receipt by the addressee
    only, to the said Defendant/Respondent at the address furnished by Plaintiff/Petitioner.


    ____________________________                                        ____________________________________________
                    Date




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